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                                                                            Execution Version




                          ASSET PURCHASE AGREEMENT



                                     by and among

                                 Balu Holdings, LLC
                          a Delaware limited liability company,

                                     as Purchaser,

                                          and

                Eat Here Brands LLC, a Delaware limited liability company,

             Babalu Birmingham #1, LLC, an Alabama limited liability company,

                Babalu Atlanta #1 LLC, a Georgia limited liability company,

              Babalu Memphis #1, LLC, a Tennessee limited liability company,

               Babalu Memphis #2 LLC, a Tennessee limited liability company,

              Babalu Knoxville #1, LLC, a Tennessee limited liability company,

                                            and

                    Babalu, LLC, a Mississippi limited liability company,

                                       as Sellers


                                  September __,
                                             9 2019




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                                  ASSET PURCHASE AGREEMENT

         This Asset Purchase Agreement (the “Agreement”) is made and entered into as of September ___,
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2019 (the “Effective Date”) by and among Eat Here Brands LLC, a Delaware limited liability company,
Babalu Birmingham #1, LLC, an Alabama limited liability company, Babalu Atlanta #1 LLC, a Georgia
limited liability company, Babalu Memphis #1, LLC, a Tennessee limited liability company, Babalu
Memphis #2 LLC, a Tennessee limited liability company, Babalu Knoxville #1, LLC, a Tennessee limited
liability company, and Babalu, LLC, a Mississippi limited liability company (each of the foregoing a
“Seller” and collectively, “Sellers”) and Balu Holdings, LLC, a Delaware limited liability company (the
“Purchaser”). Sellers and Purchaser are sometimes collectively referred to as the “Parties.”

                                    PRELIMINARY STATEMENTS

        A. Sellers are engaged in the business of owning and operating six restaurants in four states (such
restaurants located in such states, the “Restaurants” and such business as conducted in such states, the
“Business”).

       B. Each of Sellers has filed Petitions initiating bankruptcy cases which are being jointly
administered under Case No. 19-61688-wlh (the “Chapter 11 Cases”) under Chapter 11 of Title 11 of the
United States Code, 11 U.S.C. Sections 101 et seq. (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Northern District of Georgia, Atlanta Division (the “Bankruptcy Court”).

        C. On the terms and conditions of this Agreement, and pursuant to Sections 363 and 365 of the
Bankruptcy Code, Sellers wish to sell to Purchaser, and Purchaser wishes to purchase from Sellers, certain
of the assets and properties of Sellers relating to the Business, and the Parties further wish for Sellers to
assume and assign to Purchaser certain executory contracts and unexpired leases pursuant to the terms
hereof, all in the manner and subject to the terms and conditions set forth herein and in accordance with
Sections 363 and 365 of the Bankruptcy Code (such transactions, the “Contemplated Transactions”).

                                              AGREEMENT

        In consideration of their respective covenants set forth herein, the Parties, intending to be legally
bound, hereby agree as follows:

        1.      Transfer of Assets.

                 1.1 Purchase and Sale of Assets. On the Closing Date and on the terms and conditions
        hereinafter set forth in this Agreement and pursuant to sections 363 and 365 of the Bankruptcy
        Code and the Sale Order, Sellers shall sell, assign, transfer, convey and deliver to Purchaser, and
        Purchaser shall purchase, acquire, accept and receive from Sellers, free and clear of all
        Encumbrances to the extent provided in the Sale Order, all of each Seller’s respective right, title
        and interest as of the Closing Date in and to the following assets and properties used primarily by
        Sellers in connection with the operation of the Acquired Restaurants, other than any Excluded
        Assets (such assets and properties described below, other than the Excluded Assets, are collectively
        referred to herein as the “Purchased Assets”):

                         (a)   all Furniture and Equipment;

                        (b) all Inventory that is located at (or in transit to) any of the Acquired
        Restaurants as of the Closing Date, other than the Liquor Inventory in jurisdictions where the Legal
        Requirements do not permit Purchaser to take title to liquor inventories in general or do not permit

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        Purchaser to take title to liquor inventories until Purchaser obtains the requisite Liquor License
        Approvals from the relevant Governmental Body; provided, however, Sellers shall transfer, assign,
        convey and deliver to Purchaser such the Liquor Inventory in each instance upon issuance of the
        relevant Liquor License Approval or other authorization from the relevant Governmental Body
        (whichever occurs first), and all rights of Sellers to take delivery of any the Liquor Inventory
        ordered by Sellers before the Closing Date for delivery to any of the Acquired Restaurants, which
        the Liquor Inventory has not been delivered as of the Closing Date;

                         (c)   all Restaurant Petty Cash;

                         (d)    all Large Party Deposits identified on Schedule 1.1(d) hereto;

                       (e) all Intangible Property Assets, including, but not limited to, those identified
        on Schedule 1.1(e) hereto;

                          (f) any interest of Sellers under the Restaurant Leases and the Other Contracts
        (i) that are described on Schedule 1.1(f) hereto, (ii) for which Purchaser has paid the Cure Costs in
        accordance with Section 2.5, (iii) that are unexpired as of the Closing Date and (iv) that have not
        been rejected (or are the subject of a notice of rejection or a pending rejection motion) by any Seller
        (collectively, the “Purchased Contracts”), including, without limitation, credits, deposits and
        prepaid amounts of Sellers with respect to the Purchased Contracts as of the Closing Date subject
        to the provisions of Section 2.8 hereof;

                        (g) to the extent transferable and assignable, all of Sellers’ interest in those
        Business Permits and all Liquor Licenses held by Sellers that are described on Schedule 1.1(g)
        hereto, in each case to the extent transferable, other than alcohol Business Permits (including
        Liquor Licenses) in jurisdictions where Legal Requirements not permit Purchaser to take title to
        such Business Permits until it obtains the requisite approvals from the pertinent Governmental
        Body; Sellers shall transfer, assign convey and deliver to Purchaser such Business Permits in each
        instance only upon issuance of the requisite approvals from the relevant Governmental Body;

                         (h)   all Receivables;

                          (i) all books, records, files and papers of Sellers relating to the Business or the
        Purchased Assets, copies of which may be retained by Sellers, including equipment logs, operating
        guides and manuals, creative materials, advertising materials, promotional materials, studies,
        reports, correspondence, financial and accounting records, Tax records and other similar documents
        and records (all in the state in which such records and information currently exist) and all computers
        and other storage devices of the Sellers, wherever located, upon which such information resides
        (collectively, “Documents”) provided, however, for the avoidance of all doubt, the following items
        shall not be deemed “Documents,” but rather as Excluded Assets for all purposes hereof: (x) any
        such records that are prohibited for being transferred to Purchaser due to federal or state privacy
        laws or other Legal Requirements; (y) any other of the foregoing which are subject to attorney-
        client or any other privilege; and (z) books, records, files or papers that are minute books or other
        general corporate records, provided that Sellers shall, upon Purchaser’s reasonable request therefor,
        provide copies of the items described in this clause (z) to Purchaser to the extent permitted by
        applicable Legal Requirements);

                          (j) to the extent transferable, all rights of Sellers under or pursuant to all
        warranties, representations and guarantees made by suppliers, manufacturers and contractors to the
        extent relating to products sold or services provided to any of Sellers with respect to the Acquired

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        Restaurants or to the extent affecting any Purchased Assets or Purchased Contracts, other than any
        warranties, representations and guarantees pertaining to any Excluded Asset;

                         (k) all rights, to the extent assignable, under any agreements in favor of any of
        Sellers or for the benefit of any of Sellers with current or former employees, contractors or third
        parties, with respect to confidentiality, non-disclosure, non-competition, non-solicitation, or other
        restrictive covenants, regardless of whether any such Person accepts an offer of employment from
        Purchaser, continues to perform services for Purchaser, or submits a bid for all or any portion of
        the Purchased Assets, in each case to the extent such agreement constitutes a Purchased Contract;

                       (l) all Intellectual Property Assets owned by Sellers relating primarily to the
        Purchased Assets, including the Intellectual Property Assets set forth on Schedule 1.1(l) (the
        “Purchased Intellectual Property”); and

                         (m) Subject to the provisions of Section 2.8 below, all Claims for deposits and
        other prepaid amounts under any of the Purchased Contracts or held by any Utilities or trade
        vendors relating to any of the Acquired Restaurants; provided, however, any adequate assurance
        deposits paid to the provider of any Utilities or held by Sellers shall be Excluded Assets for
        purposes of this Agreement.

                1.2 Excluded Assets. The Purchased Assets shall include only those assets and interests
        specifically listed in Section 1.1 above and shall in all events exclude all right, title or interest of
        any of Sellers in, to or under any of the following (collectively, the “Excluded Assets”):

                       (a) all cash and cash equivalents of Sellers, other than Restaurant Petty Cash and
        Large Party Deposits;

                         (b)   the Purchase Price and Sellers’ rights under this Agreement;

                         (c) any Excluded Contracts, including any refund, rebate, credit or payment due
        to Sellers thereunder or any equipment (including any POS or similar equipment), tools or other
        items leased, rented or otherwise provided or made available thereunder or in connection therewith;

                         (d) any Claims, other than as set forth in Section 1.1(j) and Section 1.1(l), and
        those arising post-Closing with respect to or in connection with any Purchased Asset;

                        (e) all securities, whether capital stock or debt, and other ownership interests
        issued by any of Sellers;

                         (f)   all assets of any Section 401(k) or other Seller benefit plan;

                         (g) all intercompany claims by any Seller against any other Seller or any
        Subsidiary or other Affiliate of any Seller;

                         (h)   any item expressly excluded pursuant to the provisions of Section 1.1 above;

                         (i)   all Avoidance Actions;

                          (j) all insurance policies and any premium refunds (including, without
        limitation, for any prepaid premiums) of Sellers arising from their insurance policies on account of
        reduction in workforce, liability coverage, and the like;

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                         (k) except only as provided in Sections 1.1(c), 1.1(d), 1.1(f) and 1.1(m), all
        rights and Claims to deposits (including, without limitation, any cash collateral for any obligation
        of Sellers and all Post-Petition deposits made by Sellers), credits, prepaid amounts (including,
        without limitation, as to Taxes), refunds, reimbursements, vendor and other rebates, set-offs and
        similar rights and claims of Sellers, including, without limitation, any of the foregoing relating to
        any Contract other than the Purchased Contracts; and

                          (l)     all of such Seller’s interest in or rights to receive Tax refunds, credits and
        rebates and other governmental charges for periods prior to the Closing Date, all federal and state
        deferred Tax assets and the benefit of net operating loss carry forwards, carry backs or other credits
        of such Seller for periods or partial periods ending on or prior to the Closing Date, and such Seller’s
        rights in and to any Tax deposits made by such Seller prior to the Closing Date;

                1.3    Executory Contracts

                          (a) All Purchased Contracts shall be assumed by Sellers and assigned to
        Purchaser at the Closing. Any Contract of any Seller that is an Excluded Contract may be assumed
        or rejected by Sellers in Sellers’ sole discretion and shall be deemed an Excluded Asset. Subject
        to the limitations set forth in Section 2.5, Purchaser shall pay all Cure Costs related to the Purchased
        Contracts.

                          (b) As part of the Sale Motion, Sellers shall seek approval by the Bankruptcy
        Court of the sale, assumption and assignment by Sellers to Purchaser of all Purchased Contracts.
        Sellers shall serve the Sale Motion on all counterparties to all such Purchased Contracts along with
        a notice specifically: (i) identifying the Purchased Contracts and stating that Sellers are or may be
        seeking the sale, assumption and assignment of such Purchased Contracts to Purchaser, (ii)
        identifying the Cure Costs for each of the Purchased Contracts as determined by Sellers in
        accordance with Schedule 1.3(b) hereto, and (iii) notifying such counterparties to the Purchased
        Contracts of the deadline for objecting to the proposed assumption and assignment of the Purchased
        Contracts, including the proposed Cure Costs and objections related to the provision of adequate
        assurance of future performance. The Sale Motion shall also request that the Bankruptcy Court
        determine, if necessary, the Cure Costs under each of the Purchased Contracts. Purchaser may
        delete any Purchased Contract from Schedule 1.1(f) and Schedule 1.3(b) or add any Contract to
        Schedule 1.1(f) and Schedule 1.3(b) at any time no later than seven (7) days prior to the Closing
        Date, in each case by written notice to Sellers and the counterparties to any such Contract, but any
        such deletion or addition will not affect the Purchase Price. Notwithstanding anything herein to
        the contrary, if a Contract is added to Schedule 1.1(f) and/or Schedule 1.3(b) after the Sale Motion
        is filed, the assumption and assignment of any such Contract(s) shall not be a condition to Closing
        and may be effected on a post-Closing basis.

        2.      Consideration.

                2.1    Purchase Price; Deposit.

                          (a)   In consideration of the transfer of the Purchased Assets to Purchaser and
        the other undertakings set forth herein, the purchase price shall be Three Million Six Hundred
        Twenty Thousand and 00/100 Dollars ($3,620,000.00) (the “Purchase Price”) and shall be payable
        as set forth herein.



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                         (b)    On the Effective Date, Purchaser shall deposit with an escrow agent
        mutually acceptable to the Parties (the “Escrow Holder”), which deposit shall be held by the
        Escrow Holder in a trust account, an amount equal to Three Hundred Sixty-Two Thousand and
        00/100 Dollars ($362,000.00) (together with the earnings thereon, the “Deposit”) in immediately
        available, good funds of the United States of America (funds delivered in this manner are referred
        to herein as “Good Funds”), pursuant to an escrow agreement to be entered by and among the
        Parties and the Escrow Holder on or before the Effective Date. All fees and other amounts payable
        to the Escrow Holder shall be split evenly between the Purchaser, on the one hand, and the Sellers,
        on the other hand.

                2.2   Disposition of Deposit at Closing, Etc.

                          (a)   At Closing, the Deposit shall be credited and applied toward payment of the
        Purchase Price.

                         (b) If this Agreement is duly terminated pursuant to Section 14 without a
        Closing, Purchaser shall be entitled to the return of the Deposit, provided that Sellers shall be
        entitled to the Deposit (and the Parties shall promptly instruct the Escrow Holder to immediately
        pay the Deposit to the account Sellers designate) if this Agreement is duly terminated pursuant to
        Section 14.2 as a result of a Purchaser Misconduct Order or pursuant to Section 14.3(a).

                 2.3 Assumed Liabilities. As additional consideration for the transfer of the Purchased
        Assets to Purchaser over and above the Purchase Price, effective as of the Closing Date, Purchaser
        shall assume only the following Liabilities of Sellers (collectively, the “Assumed Liabilities”):

                       (a) all Liabilities arising out of the ownership or operation of any of the
        Purchased Assets on or after the Closing Date;

                       (b) all Liabilities under any of the Purchased Contracts on or after the Closing
        Date (which shall include, without limitation, all Cure Costs); and

                       (c) all Liabilities of Sellers under any Large Party Reservation relating to any
        Acquired Restaurant made with the payment of a Large Party Deposit at any time on or before the
        Closing Date and scheduled to be honored after the Closing Date;

                        (d)    any obligation of Sellers to honor Gift Certificates that remain outstanding
        as of the Closing Date, whether or not such Gift Certificates were issued prior to or after the
        commencement of the Chapter 11 Cases of Sellers and presented to Purchaser for redemption after
        the Closing Date; and

                       (e)     all Liabilities for Transfer Taxes and fifty percent (50%) of the costs and
        other amounts payable to the Escrow Holder under the escrow agreement.

                 2.4 Excluded Liabilities. Notwithstanding anything to the contrary contained in this
        Agreement, other than the Assumed Liabilities, Purchaser shall not be obligated to assume or to
        perform or discharge any Liability of Sellers (such Liabilities not assumed by Purchaser, the
        “Excluded Liabilities”), which Excluded Liabilities, for the avoidance of doubt, shall include, but
        are not limited to, those listed on Schedule 2.4 and the following:

                          (a)   Claims arising under Section 503(b)(9) of the Bankruptcy Code;


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                        (b) Claims or Liabilities arising on or before the Petition Date under the
        Perishable Agricultural Commodities Act, 7 U.S.C. §499a et seq., the Packers and Stockyards Act,
        7 U.S.C. §181 et seq., or their state law correlates;

                        (c) any costs or expenses incurred in connection with, or related to, the
        administration of the Chapter 11 Cases, including, without limitation, any accrued professional fees
        and expenses of attorneys, accountants, financial advisors and other professional advisors related
        to the Chapter 11 Cases;

                          (d)   all environmental Liabilities arising before the Closing Date under federal,
        state and local law relating to or arising out of or in connection with the Purchased Assets;

                         (e)    all Liabilities and obligations under Sellers’ key employee retention plan;

                         (f)    all Liabilities relating to any Excluded Asset;

                        (g)     accrued vacation, sick pay, and other paid time off of the Business
        Employees as provided in Section 13.2, as such amounts may change (increase or decrease) in the
        ordinary course of the Business pending the Closing Date;

                         (h)     ordinary course payroll of Business Employees (i.e. paid in the ordinary
        course of the Sellers’ current payroll practices) that comes due and payable after the Closing with
        respect to the portion thereof that is attributable to the payroll periods preceding the Closing Date;

                         (i)    except for Liabilities for the Transfer Taxes, all Liabilities of Sellers for
        accrued sales, use and similar taxes as of the Closing;

                         (j)     all post-Petition trade payables of the Business that come due after the
        Closing, including all credit card merchant fees, and post-Petition obligations to customers of
        Sellers for refunds, rebates, returns, discounts and the like as of the Closing Date, but in each of the
        foregoing cases described in this clause only to the extent the same were incurred by Sellers in the
        ordinary course of the Business from and after the commencement of the Chapter 11 Cases;

                         (k)      all Liabilities to the extent arising out of, relating to or in connection with
        any Legal Proceeding, including any pending or threatened Legal Proceeding against any Seller or
        relating to the Business;

                       (l)     except as set forth in Section 2.3(e), all Liabilities relating to the costs and
        other amounts payable to the Escrow Holder under the escrow agreement; and

                        (m) all Liabilities for the provision of notice or payment in lieu of notice and
        any applicable penalties under the WARN Act arising prior to the Closing Date or arising as a result
        of the Contemplated Transactions.

                2.5    Payment of Cure Costs.

                         (a)     All Cure Costs shall be the responsibility of Purchaser and shall be
        credited toward the Purchase Price. Notwithstanding the forgoing sentence or anything in this
        Agreement to the contrary set forth herein, including Schedule 1.3(b) hereto, but subject to the
        proviso in Section 2.5(b) below, Purchaser’s right to credit the Purchase Price for amounts paid to
        satisfy Cure Costs shall be capped at $100,000 (“Cure Costs Cap”).

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                         (b)      If the Cure Costs for the Purchased Contracts exceed the Cure Costs Cap,
        Purchaser may either: (i) remove any Contracts from the list of Purchased Contracts (provided no
        such removal by Purchaser shall be deemed to cause the failure of a condition to Purchaser’s
        obligations to consummate the Closing) or (ii) pay any Cure Costs that exceed the Cure Costs Cap
        at its own expense without any further reduction to the Purchase Price; provided that,
        notwithstanding anything in this Section 2.5 or Section 3.3(a) to the contrary, to the extent the
        aggregate Cure Costs for the Restaurant Leases exceed the Cure Costs Cap, all of such Cure Costs
        shall be credited toward the Purchase Price unless Sellers expressly elect otherwise in a writing
        delivered to Purchaser (the “Cure Costs Election Notice”) within five (5) days following the
        calculation of such Cure Costs. If Sellers deliver a Cure Costs Election Notice, then Purchaser may
        terminate this Agreement, but only if Purchaser delivers written notice of such termination to
        Sellers within five (5) days after the delivery of the Cure Costs Election Notice.

                2.6 Transitional Matters. From and after Closing, Sellers shall retain full right and
        authority to use, enforce, pursue remedies and take actions with respect to any of the Excluded
        Assets.

                 (a)      From and after the Closing, Purchaser will retain and make available to Sellers or
        any trustee or other bankruptcy estate representative and their respective representatives acting on
        behalf of Sellers’ estates, during normal business hours and upon reasonable advance written notice
        to Purchaser of not less than forty-eight hours and for a period of 2 years following the Closing
        Date, the Documents delivered by Sellers to Purchaser, if reasonably needed by Sellers for
        liquidation, winding up, Tax reporting or other proper purposes; provided, that Sellers will use
        reasonable efforts to retain copies of Documents, and the Parties otherwise will reasonably
        cooperate to minimize inconvenience to Purchaser. Further, during the same period, Purchaser shall
        promptly provide such reports as Sellers may reasonably request to facilitate Sellers’ post-Closing
        activities for the purposes described above in this Section 2.6(a) at Sellers’ cost.

                (b)   Previously Omitted Contracts.

                          (i) If, prior to or following Closing, it is discovered that a Contract should have
        been listed on Schedule 1.1(f) but was not listed on Schedule 1.1(f) (any such Contract, a
        “Previously Omitted Contract”), Sellers shall, promptly following the discovery thereof (but in no
        event later than five (5) Business Days following the discovery thereof), notify Purchaser in writing
        of such Previously Omitted Contract and all Cure Costs (if any) for such Previously Omitted
        Contract. Purchaser shall thereafter deliver written notice to Sellers, no later than five (5) Business
        Days following notification of such Previously Omitted Contract from Sellers, designating such
        Previously Omitted Contract as “Assumed” or “Rejected” (a “Previously Omitted Contract
        Designation”). A Previously Omitted Contract designated in accordance with this Section 2.6(b)(i)
        as “Rejected,” or with respect to which Purchaser fails to timely deliver a Previously Omitted
        Contract Designation, shall be an Excluded Contract.

                         (ii) If Purchaser designates a Previously Omitted Contract as “Assumed” in
        accordance with Section 2.6(b)(i), (A) Schedule 1.1(f) shall be amended to include such Previously
        Omitted Contract and (B) Sellers shall serve a notice (the “Previously Omitted Contract Notice”)
        on the counterparties to such Previously Omitted Contract designated as “Assumed” notifying such
        counterparties of the Cure Costs with respect to such Previously Omitted Contract and Sellers’
        intention to assume and assign such Previously Omitted Contract in accordance with this Section
        2.6(b) with no adjustment to the Purchase Price. The Previously Omitted Contract Notice shall
        provide the counterparties to such Previously Omitted Contract with seven (7) days to object, in

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        writing to Sellers and Purchaser, to the assumption, assignment and sale of the Previously Omitted
        Contract, including the Cure Costs for such Previously Omitted Contract. If the counterparties,
        Sellers and Purchaser are unable to reach a consensual resolution with respect to the objection,
        Sellers will seek an expedited hearing before the Bankruptcy Court to determine the Cure Costs
        and approve the assumption, assignment and sale. If no objection is timely served on Sellers and
        Purchaser, Sellers shall seek an Order of the Bankruptcy Court fixing the Cure Costs and approving
        the assumption, assignment and sale of the Previously Omitted Contract to Purchaser.

                 (c) To the extent that the assignment to Purchaser of any Purchased Contract pursuant
        to this Agreement is not permitted without the consent of a third party, and such restriction cannot
        be effectively overridden or canceled by the Sale Order or other related order of the Bankruptcy
        Court, the Parties will use commercially reasonable efforts to obtain consent prior to the Closing.

                 (d)     As requested by Purchaser and no later than one (1) Business Day prior to the
        Closing, Sellers will undertake in good faith to complete a sampling of the Inventory that is in the
        possession of Sellers as of the Closing Date (the “Inventory Assessment”), using commercially
        reasonable procedures, subject to the supervision of Purchaser and its accountants. Sellers shall
        deliver the results of the Inventory Assessment to Purchaser prior to the Closing. Notwithstanding
        the foregoing, neither such sampling nor the results thereof shall affect on the Parties’ respective
        rights and obligations under this Agreement.

                 2.7 Purchase Price Allocation. Not later than sixty (60) days following the Closing
        Date, Purchaser shall prepare and deliver to Sellers for their review and consideration a schedule
        (the “Allocation Schedule”) allocating the Purchase Price among the various assets comprising the
        Purchased Assets in accordance with Treasury Regulation 1.1060-1 (or any comparable provisions
        of state or local Tax law) or any successor provision. If Sellers disagree with or raise objections to
        the Allocation Schedule, Purchaser and Sellers will negotiate in good faith to resolve such
        objections. If the Parties are able to agree upon the allocation of the Purchase Price, Purchaser and
        Sellers shall report and file all Tax Returns (including any amended Tax Returns and claims for
        refund) consistent with such mutually agreed Purchase Price allocation, and shall take no position
        contrary thereto or inconsistent therewith (including in any audits or examinations by any Taxing
        authority or any other proceedings). Purchaser and Sellers shall file or cause to be filed any and all
        forms (including U.S. Internal Revenue Service Form 8594), statements and schedules with respect
        to such allocation, including any required amendments to such forms. If, on the other hand, the
        Parties are unable mutually to agree upon the manner in which the Purchase Price should be
        allocated, Purchaser and Sellers shall be free to make their own respective allocations of the
        Purchase Price for Tax purposes. Notwithstanding any other provisions of this Agreement, in the
        event the Parties mutually agree upon the allocation of the Purchase Price, the provisions of this
        Section 2.7 shall survive the Closing.

                 2.8 Apportionment. Before the Closing Date, Sellers and Purchaser shall make mutually
        satisfactory arrangements with respect to, or take readings or other measurements of, gas, water,
        electricity and other utilities at the Acquired Restaurants (the “Utilities”). On and as of the Closing,
        Sellers and Purchaser shall mutually determine (or, to the extent impractical, using the Parties’ best
        estimates as of the Closing Date), the amount of any rebates and advances under beverage and other
        supplier contracts relating to the Acquired Restaurants (to the extent the same constitute Purchased
        Contracts), and all amounts for Utilities, rent (including CAM and percentage rent under the
        Restaurant Leases), common area expense, real estate taxes, and other items that are customarily
        prorated in non-bankruptcy transactions of this type, in each case arising out of or relating to the
        Acquired Restaurants and relating to periods that include or straddle the Closing Date. The Parties
        agree to prorate each of the foregoing between the Sellers, on the one hand, and the Purchaser, on

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        the other hand, on a per diem basis (employing a 365-day year). For purposes of such proration,
        items of income and expense relating to the operation of the Acquired Restaurants prior to the
        Closing shall be for the account of the Sellers, and items of income and expense relating to the
        operation of the Acquired Restaurants on or after the Closing shall be for the account of the
        Purchaser. To the extent the prorations contemplated by this Section 2.8 can be determined as of
        the Closing Date, they shall be added or subtracted, as the case may be, to the Purchase Price at the
        Closing. From and after the Closing until three (3) month anniversary thereof, the Sellers, on the
        one hand, and the Purchaser, on the other hand, shall from time to time make payments to the
        other(s) as necessary to effect the intent of this Section 2.8.

        3.      Closing Transactions

                 3.1 Closing. The closing of the Contemplated Transactions (the “Closing”) shall take
        place at 10:00 a.m. on or before the third (3rd) Business Day following the satisfaction, or waiver
        by the appropriate Party, of all the conditions contained in Section 4, or on such other date (no later
        than the Outside Date) as may be agreed to by the Parties hereto (the date on which the Closing
        occurs, hereinafter the “Closing Date”). Items of income and expense on the Closing Date shall be
        for the account of the Purchaser.

               3.2 Sellers’ Deliveries to Purchaser at Closing. On the Closing Date, Sellers shall
        make the following deliveries to or for the benefit of Purchaser:

                         (a)    one or more Assignments and Assumptions of Restaurant Leases, in a
        form mutually agreed to by the Parties, acting in good faith, duly executed by Sellers, with respect
        to the Restaurant Leases (the “Assignments of Restaurant Leases”) to the extent the same
        constitute a Purchased Contract;

                         (b)       an Assignment and Assumption of Contracts, in a form mutually agreed
        to by the Parties, acting in good faith, duly executed by Sellers, pursuant to which Sellers’ interest
        in all Purchased Contracts (other than any Restaurant Leases) shall be assigned to Purchaser (the
        “Assignment of Other Contracts”);

                         (c)     an Assignment of Intangible Property Assets, duly executed by Sellers, in
        a form mutually agreed to by the Parties, acting in good faith, pursuant to which Sellers’ interest in
        all the Intangible Property Assets shall be assigned to Purchaser (the “Assignment of Intangible
        Property Assets”);

                         (d)      a Bill of Sale and Assignment, in a form mutually agreed to by the Parties,
        acting in good faith, duly executed by Sellers, pursuant to which Sellers’ interest in any Purchased
        Assets not otherwise assigned at the Closing shall be assigned to Purchaser (the “Bill of Sale”);

                         (e)      (i) duly executed assignments to Purchaser of the registered Trademarks
        and Trademark applications included in the Purchased Intellectual Property, in each case, in a form
        suitable for recording in the U.S. Patent and Trademark Office and (ii) duly executed assignments
        to Purchaser of any URLs, including any domain names;

                         (f)     the duly executed Management Agreements, which shall address any
        interim arrangements necessary pending the transfer of Liquor Licenses to Purchaser, substantially
        in the form attached as Exhibit A hereto;



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                        (g)    non-solicitation and confidentiality agreements duly executed by each of
        Ned Lidvall, Steven Rockwell, William Latham, David Roberts and Ronald Rosati substantially in
        the form attached as Exhibit B hereto prohibiting the solicitation of employees of the Acquired
        Restaurants for a period of three (3) years after the Closing Date (the “Restrictive Covenant
        Agreements”);

                       (h)      certificates of title, duly executed by Sellers, required to convey ownership
        of any motor vehicles or similar equipment included within the Purchased Assets;

                         (i)      the certificate contemplated by Section 4.1(a), duly-executed by Sellers;
        and

                         (j)     appropriate evidence of all necessary Entity action by Sellers in
        connection with the Contemplated Transactions (together with a certified copy of a good standing
        certificate or equivalent for each Seller), including, without limitation: (i) certified copies of
        resolutions duly adopted by Sellers’ Board of Managers (or other governing body, as appropriate)
        approving the Contemplated Transactions and authorizing the execution, delivery, and performance
        by Sellers of this Agreement; and (ii) a certificate as to the incumbency of those officers of Sellers
        executing this Agreement and any instrument or other document delivered in connection with the
        Contemplated Transactions.

                3.3     Purchaser’s Deliveries to Sellers at Closing.   On the Closing Date, Purchaser shall:

                        (a)      pay to Sellers, by wire transfer of Good Funds, an amount equal to the
        Purchase Price, less the Cure Costs actually paid by the Purchaser (and subject to the Cure Costs
        Cap) and the funds to be released pursuant to Section 3.3(b) below (the “Cash Purchase Price”);

                       (b)      instruct the Escrow Holder in writing to release to Sellers, by wire transfer
        of Good Funds to the account designated by the Sellers, the Deposit as a credit against the Purchase
        Price;

                        (c)     pay, by wire transfer of Good Funds, all Cure Costs to the parties to whom
        and pursuant to the terms by which the Bankruptcy Court directs such payments to be made under
        the Sale Order;

                         (d)      deliver the certificate contemplated by Section 4.1(a), duly executed by
        Purchaser;

                       (e)     deliver a counterpart of the Assignments of Restaurant Leases, duly
        executed by Purchaser;

                         (f)      deliver a counterpart of the Assignment of Other Contracts, duly executed
        by Purchaser;

                       (g)     deliver a counterpart of the Assignment of Intangible Property Assets, duly
        executed by Purchaser;

                          (h)   deliver an Assumption of Liabilities with respect to the Assumed
        Liabilities, in a form mutually agreed to by the Parties, acting in good faith, duly executed by
        Purchaser (the “Assumption of Liabilities”);


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                        (i)     deliver a counterpart of each Management Agreement, duly executed by
        Purchaser;

                       (j)     deliver counterparts of each of the Non-Solicitation Agreements, each
        duly executed by Purchaser;

                         (k)     deliver any certificates of title required to convey ownership of any motor
        vehicles or similar equipment owned by Sellers to Purchaser, if acknowledgement or endorsement
        thereof is required by Purchaser;

                        (l)     deliver appropriate evidence of all necessary Entity action by Purchaser in
        connection with the Contemplated Transactions (together with a certified copy of a good standing
        certificate or equivalent for Purchaser), including, without limitation: (i) certified copies of
        resolutions duly adopted by Purchaser’s mangers and/or members, as appropriate, approving the
        Contemplated Transactions and authorizing the execution, delivery, and performance by Purchaser
        of this Agreement; and (ii) a certificate as to the incumbency of those officers of Purchaser
        executing this Agreement and any instrument or other document delivered in connection with the
        Contemplated Transactions; and

                        (m)      deliver any such other documents, funds or other things reasonably
        requested by Sellers or contemplated by this Agreement to be delivered by Purchaser to Sellers at
        the Closing.

                 3.4 Sales, Use and Other Taxes. Any and all sales, purchase, transfer, stamp,
        documentary stamp, use or similar taxes under the laws of the states in which any portion of the
        Purchased Assets is located, or any subdivision of any such state, or under any federal law or the
        laws or regulations of any federal agency or authority, which may be payable by reason of the sale
        or transfer of the Purchased Assets under this Agreement or the Contemplated Transactions
        (collectively, the “Transfer Taxes”) shall be the sole responsibility of the Purchaser, provided the
        Parties shall cooperate with respect to determining, and reducing, the amount thereof the extent
        permitted by applicable Legal Requirements. If applicable Legal Requirements mandate that
        Sellers remit any Transfer Taxes to Governmental Bodies, Purchaser shall timely remit such
        Transfer Taxes to the Sellers for payment to the applicable Governmental Bodies.

                 3.5 Possession. Right to possession of the Purchased Assets shall transfer to Purchaser
        on the Closing Date. Sellers shall transfer and deliver to Purchaser on the Closing Date such keys,
        locks and safe combinations and other similar items as are required to obtain occupation and control
        of the Purchased Assets, and shall also make available to Purchaser as soon as reasonably possible
        after the Closing Date at their then-existing locations the originals of all documents in Sellers’
        possession that are required to be transferred to Purchaser by this Agreement.

                3.6 Closing Date. All actions to be taken on the Closing pursuant to this Agreement
        shall be deemed to have occurred simultaneously, and no act, document or transaction shall be
        deemed to have been taken, delivered or effected until all such actions, documents and transactions
        have been taken, delivered or effected. Unless provided otherwise herein or agreed otherwise in
        writing by the Parties, documents delivered at the Closing shall be dated as of the Closing Date.

        4.      Conditions Precedent to Closing.

                4.1 Conditions to Sellers’ Obligations. Sellers’ obligation to make the deliveries
        required of Sellers at the Closing Date and otherwise consummate the Contemplated Transactions

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        shall be subject to the satisfaction of each of the following conditions (unless such condition is
        waived in writing by Sellers):

                         (a) All of the representations and warranties of Purchaser contained herein shall
        continue to be true and correct at the Closing in all material respects, and Purchaser shall have
        substantially performed or tendered performance of each material covenant on Purchaser’s part to
        be performed which, by its terms, is required to be performed at or before the Closing (including
        its delivery covenants under Section 3.3), and Sellers shall have received a certificate by an officer
        of Purchaser, dated as of the Closing Date, to such effect.

                         (b) The Sellers shall have received the Purchase Price in Good Funds from or
        on behalf of the Purchaser, and the Purchaser shall have assumed the Assumed Liabilities.

                         (c) No action, suit or other proceedings that is not stayed by the Bankruptcy
        Court shall be pending before any Governmental Body seeking or threatening to restrain or prohibit
        the consummation of the Contemplated Transactions, or seeking to obtain substantial damages in
        respect thereof, or involving a Claim that consummation thereof would result in the violation of
        any Legal Requirement of any Governmental Body having appropriate jurisdiction.

                         (d) The Bankruptcy Court shall have entered the Procedures Order and the Sale
        Order, both in accordance with Section 9 below, and the Sale Order shall not have been reversed
        or stayed as of the Closing Date.

                4.2 Conditions to Purchaser’s Obligations. Purchaser’s obligation to make the deliveries
        required of Purchaser at the Closing and otherwise consummate the Contemplated Transactions
        shall be subject to the satisfaction of each of the following conditions (unless such condition is
        waived in writing by Purchaser):

                         (a) All of the representations and warranties of Sellers contained herein shall
        continue to be true and correct at the Closing in all material respects, and Sellers shall have
        substantially performed or tendered performance of each material covenant on Sellers’ part to be
        performed which, by its terms, is required to be performed at or before the Closing (including their
        delivery covenants under Section 3.3), and Purchaser shall have received a certificate by officers
        of Sellers, dated as of the Closing Date, to such effect.

                         (b) No action, suit or other proceedings that is not stayed by the Bankruptcy
        Court shall be pending before any Governmental Body seeking or threatening to restrain or prohibit
        the consummation of the Contemplated Transactions, or seeking to obtain substantial damages in
        respect thereof, or involving a claim that consummation thereof would result in the violation of any
        Legal Requirement of any Governmental Body having appropriate jurisdiction.

                         (c) The Bankruptcy Court shall have entered the Procedures Order and the Sale
        Order, both in accordance with Section 9 below, and the Sale Order shall not have been reversed
        or stayed as of the Closing Date.

        5.      Sellers’ Representations and Warranties.

       Each of Sellers (as to itself) hereby makes the following representations and warranties to
Purchaser:



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                 5.1 Organization. Each of Sellers is duly organized, validly existing and in good standing
        under the laws of the jurisdiction of its incorporation or other formation. Each of Sellers is duly
        authorized to conduct business and is in good standing under the laws of each jurisdiction where
        qualification is required. Each of Sellers has all requisite Entity power and authority to own, lease
        and, subject to the provisions of the Bankruptcy Code applicable to debtors in possession, to operate
        its properties, carry on the Business as now being conducted, and to enter into this Agreement and
        to consummate the Contemplated Transactions.

                5.2 Validity and Enforceability. Subject to the entry and effectiveness of the Sale
        Order, the execution, delivery and performance of this Agreement by each of Sellers, and the
        consummation by each of Sellers of the Contemplated Transactions, have been duly authorized by
        all requisite corporate action. Subject to the entry and effectiveness of the Sale Order, this
        Agreement has been duly and validly executed and delivered by each of Sellers and (assuming this
        Agreement constitutes a valid and binding agreement of Purchaser) constitutes a valid and binding
        agreement of each of Sellers, enforceable against each of Sellers in accordance with its terms,
        except as to the effect, if any, of the Standard Exceptions to Enforceability.

                 5.3    Litigation. There is no material legal proceeding of any type or kind (whether
        governmental, quasi-governmental, judicial or in an alternative dispute resolution forum) pending
        that, once the Sale Order is given effect, will result in any material Liability on Purchaser or, to
        Sellers’ Knowledge, threatened against or affecting any of Sellers that would likely result in the
        imposition of any material Liability on Purchaser or in respect of the Purchased Assets, nor is there
        any material judgment or Order of any Governmental Body outstanding against Sellers.

                 5.4 Title to Assets; Sufficiency of Assets. At the Closing, Purchaser will be vested with
        good and valid title to, or in the case of leased or licensed assets, good and valid leasehold or license
        interest in, such Purchased Assets, free and clear of all Encumbrances other than Permitted
        Encumbrances and Excluded Liabilities, to the fullest extent permissible under Legal
        Requirements, including Section 363(f) of the Bankruptcy Code. Except for the Excluded Assets
        and all Contracts identified by Seller (whether or not Purchased Assets), the Purchased Assets
        constitute substantially all of the assets used or necessary for the operation of the Acquired
        Restaurants as presently conducted.

                  5.5     Employee Matters. No Seller has and has not had any “employee benefit plan,” as
        defined in Section 3(3) of ERISA and no health benefits are provided or have been provided in the
        past. It is understood and agreed that the Purchaser is not assuming any employee plans or liabilities
        associated therewith, and that the Sellers shall retain all such employee plans, if any, including all
        obligations deriving directly or indirectly from sponsoring or participating in such employee plans.

                 5.6       Due Notice. Sellers have served, or will serve, notice of the Chapter 11 Cases on
        all parties in interest entitled to notice under the Bankruptcy Code or Federal Rules of Bankruptcy
        Procedure.

                 5.7     Broker’s or Finder’s Fees. No agent, broker or Person acting on behalf of any of
        Sellers is, or will be, entitled to any commission or broker’s or finder’s fees from Purchaser in
        connection with the Contemplated Transactions.

               5.8   No other Representations or Warranties. EXCEPT AS EXPRESSLY PROVIDED
        IN THIS SECTION 5, (A) NONE OF SELLER, ITS AFFILIATES, OR ANY OF ITS OR THEIR
        RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES OR REPRESENTATIVES ARE
        MAKING OR HAVE MADE ANY REPRESENTATIONS OR WARRANTIES OF ANY KIND,

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        NATURE OR DESCRIPTION, EXPRESS OR IMPLIED (INCLUDING, WITHOUT
        LIMITATION,     ANY    WARRANTY     OF     TITLE,   NON-INFRINGEMENT,
        MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE), AND (B) EACH
        SELLER (ON ITS BEHALF AND ON BEHALF OF ITS AFFILIATES AND ANY OF ITS OR
        THEIR RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES OR REPRESENTATIVES)
        EXPRESSLY DISCLAIMS ANY OTHER REPRESENTATION OR WARRANTY,
        INCLUDING ANY REPRESENTATIONS OR WARRANTIES WITH RESPECT TO ANY
        PROJECTIONS OR FUTURE PERFORMANCE OF THE BUSINESS OR AS TO THE VALUE
        OR QUALITY OF THE BUSINESS OR THE PURCHASED ASSETS. WITHOUT LIMITING
        THE FOREGOING, NO REPRESENTATION OR WARRANTY OF ANY KIND IS MADE
        WITH RESPECT TO ANY DOCUMENTS, DATA, INFORMATION OR MATERIALS
        PROVIDED TO PURCHASER, ITS AFFILIATES OR ITS OR THEIR RESPECTIVE
        EMPLOYEES, CONSULTANTS, REPRESENTATIVES OR AGENTS, WHETHER IN
        CONNECTION WITH PURCHASER’S DUE DILIGENCE INVESTIGATION OR
        OTHERWISE.

        6.      Purchaser’s Warranties and Representations.

        In addition to the representations and warranties contained elsewhere in this Agreement, Purchaser
hereby makes the following representations and warranties to Sellers as of the Effective Date and as of the
Closing Date:

                  6.1 Organization. Purchaser is a limited liability company duly formed, validly
        existing and in good standing under the laws of Delaware. Purchaser has all requisite limited
        liability company power and authority to own, lease and operate its properties, execute and deliver
        this Agreement, and to perform its obligations hereunder and consummate the Contemplated
        Transactions.

                6.2 Validity and Enforceability. This Agreement has been duly executed and
        delivered by Purchaser and constitutes the valid and binding obligation of Purchaser enforceable
        against it in accordance with its terms, except as may be limited by the Standard Exceptions to
        Enforceability.

                6.3 No Conflict; Consents. The execution, delivery and performance of this
        Agreement by Purchaser, and the consummation by Purchaser of the Contemplated Transactions,
        have been duly and validly authorized, and Purchaser is not required Legal Requirements or any
        other requirement give any notice to, make any filing with, or obtain any consent from any
        Governmental Body or other Person in connection with any of the foregoing. The execution and
        delivery of this Agreement, the consummation of the Contemplated Transactions, and the
        performance of, fulfillment of and compliance with the terms and conditions hereof by Purchaser,
        do not and will not (a) conflict with or result in a breach of the articles of incorporation or bylaws
        of Purchaser, (b) violate any Legal Requirement, or (c) violate or conflict with or constitute a
        default under any agreement, instrument or writing of any nature to which Purchaser is a party or
        by which Purchaser or its assets or properties may be bound.

                6.4 Financial Resources. The Purchaser has the financial resources necessary to
        consummate the Contemplated Transactions upon the terms and conditions set forth in this
        Agreement, and such financial resources are not subject to any constraints, conditions or
        contingencies that could in any way materially affect the Purchaser’s ability to consummate the
        Contemplated Transactions or perform hereunder.


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                6.5 Broker’s or Finder’s Fees. No agent, broker or Person acting on behalf of
        Purchaser is, or will be, entitled to any commission or broker’s or finder’s fees from Sellers in
        connection with the Contemplated Transactions.

              6.6   Non-Reliance. PURCHASER ACKNOWLEDGES THAT NONE OF
        PURCHASER, ITS AFFILIATES, OR ANY OF ITS OR THEIR RESPECTIVE OFFICERS,
        DIRECTORS, EMPLOYEES OR REPRESENTATIVES IS RELYING, HAS RELIED OR WILL
        RELY UPON ANY REPRESENTATION OR WARRANTY MADE BY ANY SELLER, OR
        ANY OTHER PERSON ON SUCH SELLER’S BEHALF, EXCEPT TO THE EXTENT OF THE
        REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH IN SECTION 5 OF
        THIS AGREEMENT.

        7.      Computer/POS Systems and Soft Drink Supply Agreements.

                7.1     Computer/POS Systems.

                         (a)     For a reasonable period after the Closing (such period not to exceed thirty
        (30) days), each Seller will provide, or shall cause to be provided, the following support services
        to Purchaser for the POS systems, MWS and/or TWS located in an Acquired Restaurant: (i) those
        services provided by each Seller’s customer support center in the ordinary course of business prior
        to the Closing Date; and (ii) daily polling of the POS system and preparation of applicable store-
        level reports (such reports are for individual Acquired Restaurant) in the same manner as provided
        to Sellers prior to the Closing in the ordinary course of business. Sellers provide such services
        without representations or warranties of any kind, nature or description, express or implied, with
        respect thereto, and Purchaser hereby assumes the risk of Sellers’ provision of such services.

                         (b)     Each Seller will notify its processing agents for credit card, debit card and
        gift card transactions (“Electronic Transactions”) of the change in ownership of the Acquired
        Restaurant. Following the Closing Date and for a period not to exceed one (1) month, the Sellers
        shall use commercially reasonable efforts to make the integrated credit card terminals, if any,
        included in such POS systems may be utilized by Purchaser to process Electronic Transactions.

                 7.2     Soft Drink Supply Agreements. Schedule 7.2 lists, to the Sellers’ Knowledge, the
        owners of the post-mix dispensing equipment located at each Acquired Restaurant (“Soft Drink
        Suppliers”). Such equipment may include the dispenser unit (e.g., “legacy”, “bevariety”, or
        “freestyle” equipment), bag-in-box pumps, racks, carbonators, regulators, lines and fittings. Each
        Seller agrees to terminate and be responsible for any and all costs and fees charged by Soft Drink
        Suppliers in connection with the termination of any lease between a Seller and a Soft Drink Supplier
        for the post-mix dispensing equipment located in each Acquired Restaurant.

        8.      Covenants

                8.1 Liquor License Approvals. From and after the Closing, Sellers shall reasonably
        cooperate with Purchaser in connection with Purchaser’s filings with any Governmental Body or
        third party with respect to any of the Liquor Licenses and obtaining the necessary consents and
        approvals pertaining to transfer and/or issuance of the Liquor Licenses to Purchaser (“Liquor
        License Approvals”). Purchaser shall use reasonable efforts to obtain the Liquor License Approvals
        as soon as reasonably practicable after the Effective Date. If the Parties execute one or more
        Management Agreements at the Closing, the Liquor Inventory located within the Acquired
        Restaurants subject to such Management Agreement(s) will not be transferred to Purchaser at the
        Closing and will be transferred to Purchaser only in accordance with the terms of the applicable

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        Management Agreement. Upon the termination of the Management Agreement with respect to an
        Acquired Restaurant and assuming that the agreement governing the Liquor Inventory is a
        Purchased Contract, if any, each Seller will either, at the option of Purchaser, (i) assign its interest
        in any applicable beverage distributor advance with respect to such Acquired Restaurant to
        Purchaser and obtain an acknowledgement of such assignment from the applicable beverage
        vendor(s) or (ii) terminate the applicable beverage distributor advance(s) with respect to such
        Acquired Restaurant and, subject to such beverage vendor withholding any amounts due to such
        vendor for Liquor Inventory delivered after the Closing to the Acquired Restaurants, direct the
        applicable beverage vendor to pay any remaining balance of the beverage distributor advance to
        Purchaser.

                 8.2 Adequate Assurance Regarding Purchased Contracts. With respect to each
        Purchased Contract set forth on Schedule 1.1(f), Purchaser shall provide adequate assurance of the
        future performance of such Purchased Contract by Purchaser as required by Sections 365(b)(1)(C)
        and/or 365(f)(2)(B) of the Bankruptcy Code, as applicable, and Purchaser shall bear all risk
        associated with any failure by Purchaser to make such showing to the Bankruptcy Court’s
        satisfaction.

                8.3      No Survival of Representations and Warranties. The Parties hereto agree that the
        representations and warranties of Sellers contained in this Agreement shall not survive the Closing
        hereunder, and no Seller shall have any liability to Purchaser after the Closing for any breach
        thereof or inaccuracy therein. The Parties hereto agree that the covenants contained in this
        Agreement to be performed or otherwise adhered to at or after the Closing shall survive the Closing
        hereunder, and each Party hereto shall be liable to the other after the Closing for any breach thereof,
        except to the extent provided otherwise herein.

        9.      Bankruptcy Court Approvals.

                 9.1     Sale Motion. As promptly as practicable after the execution of this Agreement,
        Sellers will file or cause to be filed with the Bankruptcy Court a motion (the “Sale Motion”): (1)
        seeking entry of an order (the “Procedures Order”): (i) approving bidding procedures (the
        “Bidding Procedures”) to be employed with respect to the proposed sale of the Purchased Assets
        and the Contemplated Transactions, (ii) scheduling an auction (the “Auction”) related to the sale
        of the Purchased Assets and the Contemplated Transactions in the event that the Sellers are able to
        identify one or more additional qualified bidders in accordance with the Bidding Procedures, and
        (iii) approving (a) the form of this Agreement as a stalking horse agreement to be used as a template
        in connection with the Bidding Procedures and Auction and (b) the Break-Up Fee and the expense
        reimbursement contemplated by Section 12.5; (2) scheduling a hearing before the Bankruptcy
        Court to approve the Contemplated Transactions and the Sale Motion on a final basis (the “Sale
        Hearing”); and (3) seeking entry of an order (the “Sale Order”) approving the sale of the Purchased
        Assets and the assumption and assignment of the Purchased Contracts to Purchaser or the
        successful bidder at the Auction. The Sale Motion, the Procedures Order, the Sale Order, and any
        other order of the Bankruptcy Court approving the Contemplated Transactions shall be in a form
        that is reasonably acceptable to Purchaser. The Sale Order shall, at a minimum, transfer the
        Purchased Assets to Purchaser free and clear of all claims, interests, and Encumbrances (other than
        the Assumed Liabilities and the Permitted Encumbrances).

                 9.2    Bankruptcy Court Approval. (a) Sellers and Purchaser acknowledge and agree that
        this Agreement, the sale of the Purchased Assets and the Contemplated Transactions are subject to
        higher or otherwise better bids and Bankruptcy Court approval. Purchaser and Sellers acknowledge
        that Sellers must take reasonable steps to demonstrate that they have sought to obtain the highest

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        or otherwise best offer for the Purchased Assets, including giving notice thereof to the creditors of
        Sellers and other interested parties, providing information about Sellers’ businesses to prospective
        bidders, entertaining higher or otherwise better offers from such prospective bidders, and, in the
        event that additional qualified prospective bidders desire to bid for the Purchased Assets and submit
        a qualified bid therefor, conducting the Auction. The representations and warranties of the Sellers
        set forth in this Agreement are qualified in all respects by this Section 9.2.

                         (b) If this Agreement and the sale of the Purchased Assets to Purchaser on the
        terms and conditions hereof are determined to be the “highest or otherwise best offer” in accordance
        with the Procedures Order and based on the Auction (if any), Sellers shall promptly present the
        Agreement (with any modifications, if any, made at the Auction) to the Bankruptcy Court and seek
        entry of the Sale Order.

                          (c) Sellers covenant and agree that if the Sale Order is entered, the terms of any
        plan submitted by Sellers to the Bankruptcy Court for confirmation, or the terms of any other sale
        of Sellers’ or their Affiliates’ assets submitted by Sellers to the Bankruptcy Court for approval, will
        not conflict with, supersede, abrogate, nullify, modify or restrict the terms of this Agreement and
        the rights of Purchaser hereunder, or in any way prevent or interfere with the consummation or
        performance of the Contemplated Transactions including any transaction that is contemplated by
        or approved pursuant to the Sale Order.

                         (d) If the Sale Order or any other orders of the Bankruptcy Court relating to this
        Agreement are appealed or petition for certiorari or motion for rehearing or reargument is filed with
        respect thereto, Sellers agree to take all action as may be commercially reasonable and appropriate
        to defend against such appeal, petition or motion and Purchaser agrees to cooperate in such efforts
        and each Party agrees to use its commercially reasonable efforts to obtain an expedited resolution
        of such appeal; that nothing in this Section 9 shall be deemed to limit any right to termination of
        this Agreement in accordance with Section 14 hereof.

                 9.3     Cooperation. (a) From and after the date of this Agreement and until the Closing
        Date (or any earlier date on which this Agreement is determined not to be the “highest or otherwise
        best offer” in accordance with the Procedures Order), to the extent reasonably practicable, Sellers
        will deliver to Purchaser drafts of any and all material pleadings, motions, notices, statements,
        applications, schedules, reports and other papers to be filed or submitted by Sellers in connection
        with this Agreement for Purchaser’s prior review. Sellers will make commercially reasonable
        efforts to consult and cooperate with Purchaser regarding (i) any such pleadings, motions, notices,
        statements, applications, schedules, reports or other papers, (ii) any discovery taken in connection
        with the motions seeking approval of the Procedures Order or Sale Order (including, without
        limitation, any depositions) and (iii) any hearing relating to the Procedures Order or Sale Order,
        including, without limitation, the submission of any evidence, including witnesses testimony, in
        connection with such hearing.

                (b) Sellers acknowledge and agree, and the Sale Order will provide that, on the Closing
        Date and concurrently with the Closing, all then existing or thereafter arising obligations, liabilities
        and Encumbrances on, against or created by Sellers or their bankruptcy estates, shall be fully
        released from and with respect to the Purchased Assets, which will be transferred to Purchaser free
        and clear of all obligations, liabilities, Taxes and Liens except for Assumed Liabilities and
        Permitted Encumbrances.




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        10.     Commercially Reasonable Efforts.

                 10.1     Commercially Reasonable Efforts. During the period between the Effective Date
        and Closing, Sellers and Purchaser shall (a) use their commercially reasonable efforts (i) to cause
        the conditions in Section 4 to be satisfied, (ii) to deliver or cause to be delivered at the Closing the
        items to be delivered by Sellers and Purchaser pursuant to Section 3.2 and Section 3.3, respectively,
        and (iii) to take all other actions to consummate the Contemplated Transactions, and (b) not take
        any action that will have the effect of unreasonably delaying, impairing or impeding the receipt of
        any authorizations, Consents, or Orders to be sought pursuant to this Agreement.

                 10.2 Use of Name. Each Seller hereby acknowledges and agrees that, Purchaser will
        acquire at the Closing all of the Sellers’ rights in respect of the name “Babalu”, “Babalu Tapas and
        Tacos”, “Babalu Tacos and Tapas” and any similar names, including all right, title, and interest in
        and to any of a Seller’s rights in and to trademarks incorporating the names, whether registered or
        unregistered, under common law or otherwise. Thereafter no Seller or any of their controlled
        Affiliates shall have any right to use, or authorize others to use, such names for any purpose
        whatsoever. Each Seller hereby covenants and agrees for the benefit of Purchaser, its Affiliates
        and their respective successors and assigns that from and after the Closing Date no Seller or any
        controlled Affiliate shall use the name “Babalu”, “Babalu Tapas and Tacos”, “Babalu Tacos and
        Tapas” or any confusingly similar name or title, either alone or in combination with any other
        words or terms, for any purpose whatsoever; provided, however, each Seller shall have a limited
        right and license to use the name “Babalu” as necessary to wind down of its operations and
        complete the Chapter 11 Cases, subject to the following paragraph.

                 Within five (5) days after the Closing Date, Sellers shall use commercially reasonable
        efforts to take such entity and other actions necessary to change their company names to ones that
        are not similar to, or confusing with, their current names, including any necessary filings required
        by the law of the state of their respective organization, and shall promptly thereafter provide
        Purchaser with written evidence of such name changes. Sellers shall also file a motion with the
        Bankruptcy Court to change the captions of the Chapter 11 Cases to reflect such name changes.
        Without limiting the foregoing, as soon as reasonably possible after the Closing Date, each Seller
        shall immediately cease the use of any signs, purchase orders, invoices, sales orders, labels,
        letterheads, shipping documents, business cards and other materials that reference any or all of the
        words “Babalu”, “Babalu Tapas and Tacos”, “Babalu Tacos and Tapas”. Each Seller
        acknowledges and agrees that Purchaser would not have entered into this Agreement in the absence
        of the covenants contained in this Section 10.2 and, in the event of any breach of such covenants,
        Purchaser shall be entitled, in addition to any other remedies available to Purchaser at law, to an
        injunction or other equitable relief to compel each Seller or its controlled Affiliate to comply with
        the covenants contained in this Section 10.2.

        11.     Conduct Pending Closing; Loss or Destruction of Acquired Restaurants.

                11.1 Ordinary Course of Business. Except with the prior written consent of Purchaser,
        as otherwise contemplated or permitted by this Agreement or as required by the Bankruptcy Code
        or the Bankruptcy Court, from the Effective Date until the Closing Date, Sellers shall use
        commercially reasonable efforts to operate the Acquired Restaurants in the ordinary course of
        business (i.e., as such Acquired Restaurants have been operated during the immediately preceding
        12-month period), comply with all Legal Requirements applicable to the operation of the Acquired
        Restaurants and preserve their present business organization intact (in each of the foregoing cases,
        taking into account Sellers’ status as debtors-in-possession), including, maintaining the Inventory


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        at levels consistent with the management of restaurants of a quality and type similar to the Acquired
        Restaurants.

                 11.2 Event Notification. Sellers shall promptly inform Purchaser in writing of the
        occurrence or non-occurrence of any event that, to Sellers’ Knowledge, would cause any condition
        set forth in Section 4.2 not to be satisfied or the breach of any covenant hereunder by Sellers.

               11.3 Public Announcement. Each Party agrees that it will not make any public
        announcement or issue any press release or respond to any press inquiry with respect to this
        Agreement or the Contemplated Transactions without the prior approval of the other Party (which
        approval will not be unreasonably withheld), except as may be required (i) by any applicable Legal
        Requirement, or (ii) to administer the Chapter 11 Cases.

                 11.4    Loss or Destruction of Restaurants or Purchased Assets. If any Restaurant that was
        intended to be an Acquired Restaurant or a material portion of the Purchased Assets located thereat
        is damaged or destroyed by fire or other casualty (a “Casualty”) that occurs during the period that
        begins on the Effective Date and ends as of the Closing, Sellers shall promptly provide the
        Purchaser with all pertinent information regarding the Casualty (the “Casualty Notice”). If the
        Sellers reasonably estimate, after consulting with Purchaser, that the costs of repairing any damage
        resulting from such Casualty to such Restaurant and such Purchased Assets located thereat exceeds
        Two Hundred Fifty Thousand and 00/100 Dollars ($250,000.00) (each such Casualty, a “Material
        Casualty”), Purchaser, in its sole discretion, shall (a) remove such damaged Restaurant from the
        Contemplated Transactions with a corresponding reduction in the Purchase Price solely in respect
        of such damaged Restaurant and such damaged Purchased Assets (and the Parties shall negotiate
        the amount of such reduction in good faith), (b) terminate this Agreement pursuant to Section
        14.4(i) or (c) subject to the other terms of this Agreement, consummate the Contemplated
        Transactions in accordance herewith without taking any action in respect of such Casualty. If there
        has been a Casualty (whether a Material Casualty or any other Casualty) and the Closing occurs,
        the applicable Seller shall execute and deliver to Purchaser an assignment of such Seller’s rights to
        all proceeds of any insurance policies covering such Casualty, plus the net proceeds (if any) actually
        collected by such Seller under the provisions of the casualty and other insurance policies covering
        the property damaged or destroyed by the Casualty; provided, however, that (x) the applicable
        Seller may alternatively elect to use such proceeds to repair the damage from the Casualty and (y)
        no such assignment shall be required for proceeds that relate to a Restaurant that was excluded
        from the Contemplated Transactions in accordance with this Section 11.4. This Section 11.4 and
        Section 14.4(i) sets forth Purchaser’s sole and exclusive remedy in respect of any Casualty
        (including any Material Casualty), the Parties’ respective rights and obligations being otherwise
        unaffected thereby.

        12.     Break Up Fee; Expense Reimbursement.

                 12.1 Break-Up Fee. Sellers agree and acknowledge that Purchaser’s negotiation and
        execution of this Agreement has required a substantial investment of management time and a
        significant commitment of resources by Purchaser, and that the negotiation and execution of this
        Agreement have provided value to Sellers and their respective bankruptcy estates. Therefore, on
        the terms and expressly subject to the conditions precedent set forth in this Section 12 and the
        Procedures Order, and as Purchaser’s sole and exclusive remedy, Sellers shall pay or cause
        Purchaser to be paid cash in an amount equal to Fifty Thousand Dollars and 00/100 Cents as a
        break-up fee (the “Break-Up Fee”). This provision shall not be construed as a penalty, but as a
        bona fide attempt to establish an agreed upon measure of damages which Purchaser will suffer in
        the event that the Sellers close an Alternative Transaction.

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                 12.2 Payment of Break-Up Fee. Sellers’ payment obligations under Section 12.1 with
        respect to the Break-Up Fee shall be payable to Purchaser solely as and when the Sellers close an
        Alternative Transaction.

                 12.3 Survival of Break-Up Fee. Sellers’ obligation to pay and Purchaser’s right to
        receive the Break-Up Fee in accordance with the terms and conditions of the Procedures Order
        shall survive the termination of this Agreement.

                 12.4 Alternative Transaction. As used in this Agreement, the term “Alternative
        Transaction” means any agreement or transaction involving the sale (in a single transaction or a
        series of transactions) of all or substantially all of the Purchased Assets, or the issuance or sale (in
        a single transaction or a series of transactions) of all or substantially all of the equity interests of
        Sellers or any of their successors to any Person other than Purchaser or a designee of Purchaser that
        closes. No agreement or transaction will constitute an “Alternative Transaction” if this Agreement
        has been duly terminated under Section 14 (other than Section 14.4(e)) prior to the entry of such
        agreement or the closing of such transaction (respectively).

                12.5     Expense Reimbursement. Sellers shall reimburse Purchaser for Purchaser’s
        reasonable, out-of-pocket expenses, in an amount not to exceed Twenty-Five Thousand and 00/100
        Dollars ($25,000.00), if, and only if (a) Purchaser has duly terminated this Agreement under
        Section 14.4(e) and (b) Sellers have not consummated an Alternative Transaction within ninety
        (90) days after the effective date of such termination.

        13.     Employee Matters.

                13.1 Employees. As of the Closing Date, Purchaser shall have the right, but not the
        obligation, to employ or engage as contractors any or all of the employees of Sellers whose job
        function primarily relates to the Business (“Business Employees”) as Purchaser determines. Any
        Business Employees actually employed by Purchaser are referred to herein as “Transferred
        Employees.” The terms of employment offered to any Business Employees shall be determined by
        Purchaser in its sole discretion and shall be contingent upon the issuance of the Sale Order by the
        Bankruptcy Court. As of the Closing, the employment of all of the Transferred Employees shall be
        terminated by Sellers.

                 13.2 Employee Payroll Prior to Closing. Sellers will pay, in the ordinary course of
        business payroll practices, all obligations owed to the Business Employees through the day prior to
        the Closing Date for salary, wage, bonus, paid time off, benefits, overtime, Taxes, and other
        compensation or other amounts payable to or with respect to Business Employees. Sellers will be
        solely liable for all workers’ compensation claims made by any of the Business Employees based
        on events or circumstances first occurring before the Closing Date.

                 13.3 Employee Benefits Post-Closing. Beginning at 12:01 a.m. on the Closing Date,
        Purchaser will provide employee benefit coverage for all Transferred Employees under new or
        existing plans sponsored by Purchaser. Purchaser will provide credit under its new or existing plans
        for all Transferred Employees’ compensated time-off that is due from Sellers as of the Closing
        Date. Sellers will remain solely liable, and Purchaser will not assume or otherwise have any
        Liabilities for, any contributions or benefits due with respect to any period prior to the Closing Date
        under any of Sellers’ employee benefit plans.



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                13.4 WARN Act. Sellers shall be solely liable for complying with the WARN Act and
        any and all comparable state law obligations (and for any failures to so comply); provided, however,
        that Purchaser shall be solely responsible for all Liabilities relating to or arising in connection with
        any actual, constructive or deemed termination of employment by Purchaser of any Transferred
        Employee after the Closing Date.

        14.     Termination. This Agreement may be terminated prior to the Closing Date solely as set
                forth in this Section 14.

                 14.1 Termination by Mutual Consent. This Agreement may be terminated at any time
        prior to the Closing Date by mutual written agreement of the Parties.

                 14.2 Termination by Either Purchaser or Sellers. This Agreement may be terminated
        at any time prior to the Closing Date by either Purchaser or Sellers if any Governmental Body shall
        have issued an Order permanently restraining, enjoining or otherwise prohibiting the
        consummation of the Contemplated Transactions and such Order shall have become final and non-
        appealable. Any such Order that arises from the intentional breach of this Agreement (or other
        intentional misconduct or any violations of Legal Requirements) by the Purchaser or its Affiliates
        is referred to herein as a “Purchaser Misconduct Order”.

                14.3 Termination by Sellers. This Agreement may be terminated at any time prior to the
        Closing Date by Sellers solely as follows:

                         (a) if there has been a material breach by Purchaser, which breach Purchaser has
        failed to cure within thirty (30) days following its receipt of written notice thereof from Sellers and
        which breach would cause the condition set forth in Section 4.1(a) not to be satisfied;

                         (b) upon delivery of written notice to Purchaser, if any condition precedent of
        Sellers specified in Section 4.1 shall not have been satisfied or waived and shall have become
        impossible to satisfy, unless the failure of such condition to have been satisfied was caused
        primarily by a material breach by Sellers.

                        (c)     if the Bankruptcy Court enters any Order approving any Alternative
        Transaction or confirming any Chapter 11 Plan involving any Alternative Transaction;

                        (d)     upon delivery of written notice to Purchaser, if the Closing Date shall not
        have occurred on or before 5:00 p.m. Central time on the Outside Date, but only to the extent the
        Closing has not occurred as of the Outside Date for reasons other than Sellers’ failure to meet their
        obligations hereunder; or

                        (e)    if the Chapter 11 Cases shall be dismissed or converted to cases under
        Chapter 7 of the Bankruptcy Code, or if any trustee is appointed in the Chapter 11 Cases.

                14.4 Termination by Purchaser. This Agreement may be terminated at any time prior to
        the Closing Date by Purchaser solely as follows:

                        (a) upon delivery of written notice to Sellers, if the Procedures Order is not
        entered by the Bankruptcy Court by September 29, 2019;

                       (b) upon delivery of written notice to Sellers, if the Sale Order is not entered by
        the Bankruptcy Court by October 18, 2019;

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                         (c) if there has been a material breach by a Seller, which breach such Seller has
        failed to cure within thirty (30) days following its receipt of written notice thereof from Purchaser
        and which breach would cause the condition set forth in Section 4.2(a) not to be satisfied;

                        (d) upon delivery of written notice to Sellers, if any condition precedent of
        Purchaser specified in Section 4.2 shall not have been satisfied or waived and shall have become
        impossible to satisfy, unless the failure of such condition to have been satisfied was caused
        primarily by a material breach by Purchaser.

                        (e) if the Bankruptcy Court enters any Order approving any Alternative
        Transaction or confirming any Chapter 11 Plan involving any Alternative Transaction;

                        (f) upon delivery of written notice to Sellers, if the Closing Date shall not have
        occurred on or before 5:00 p.m. Central time on the Outside Date, but only to the extent the Closing
        has not occurred as of the Outside Date for reasons other than Purchaser’s failure to meet its
        obligations hereunder;

                        (g) if the Chapter 11 Cases shall be dismissed or converted to cases under
        Chapter 7 of the Bankruptcy Code, or if any trustee is appointed in the Chapter 11 Cases;

                         (h) upon delivery of written notice to Sellers, if for any reason Sellers are unable,
        or fail, to assume and assign to Purchaser at the Closing any of the Restaurant Leases (except to
        the extent (x) Purchaser elects in accordance with this Agreement that a Restaurant Lease will not
        constitute a Purchased Contract or (y) the Restaurant to which the Restaurant Lease relates is
        excluded from the Contemplated Transactions in accordance with Section 11.4);

                         (i) in accordance with Section 2.5(b); or

                          (i) upon delivery of written notice to Sellers, if Sellers have delivered a Casualty
        Notice to Purchaser in respect of a Material Casualty (provided Purchaser delivers such written
        notice no later than five (5) days after the Sellers delivered such Casualty Notice).

                 14.5 Effect of Termination. In the event of termination by either Sellers or Purchaser of
        this Agreement pursuant to this Section 14, written notice thereof shall as promptly as practicable
        be given to the other Parties and thereupon this Agreement shall terminate and the Contemplated
        Transactions shall be abandoned without further action by the Parties hereto. Upon termination of
        this Agreement, (a) except as otherwise provided in this Agreement, this Agreement shall cease to
        have any force or effect, (b) the Parties shall not have any liability to each other, except for fraud
        occurring on or before the date of such termination; provided, however, that if this Agreement is
        duly terminated by reason of (i) any material breach hereof by the non-terminating Party or (ii) any
        material non-compliance by the non-terminating Party with its obligations under this Agreement,
        which non-compliance shall have been the cause of the failure of one or more of the conditions to
        the terminating Party’s obligations to effect the Contemplated Transactions to have been satisfied,
        the terminating Party’s right to pursue any available remedies at law will survive such termination
        unimpaired, (c) the Parties shall cease to have any further obligations under this Agreement except
        pursuant to Sections 2.2, 12, 14.5, 16.1 through 16.9, and 16.11 through 16.19 (as such obligations
        are affected by any defined terms contained herein relating thereto), and (d) all filings, applications
        and other submissions made pursuant to the Contemplated Transactions shall, to the extent
        practicable, be withdrawn from the Governmental Body or Person to which made.


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                14.6 Notification of Certain Events. Sellers, on the one hand, and Purchaser, on the other
        hand, shall give written notice to the other(s) promptly upon becoming aware of any occurrence,
        or failure to occur, of any event, which occurrence or failure to occur has caused or could
        reasonably be expected to cause any condition to the obligations of the other(s) to effect the
        Contemplated Transactions not to be satisfied.

        15.     Post-Closing Matters.

                15.1    Further Conveyances and Assumptions.

                       (a)     From time to time following the Closing, and to the extent permitted by
        applicable Legal Requirements, Sellers shall make available to Purchaser such data in personnel
        records of Transferred Employees as is reasonably necessary for Purchaser to transition such
        employees into Purchaser’s records.

                          (b)     From time to time following the Closing, Sellers and Purchaser shall, and
        shall cause their respective Affiliates to, execute, acknowledge and deliver all such further
        conveyances, notices, assumptions, releases and acquaintances and such other instruments, and
        shall take such further actions, as may be reasonably necessary or appropriate to assure fully to
        Purchaser and its respective successors or assigns, all of the properties, rights, titles, interests,
        estates, remedies, powers and privileges intended to be conveyed to Purchaser under this
        Agreement and to assure fully to each of Sellers and its successors and assigns, the assumption of
        the liabilities and obligations intended to be assumed by Purchaser under this Agreement, and to
        otherwise make effective the Contemplated Transactions. For the avoidance of all doubt, nothing
        herein shall require Sellers to execute any document or take any action that would (i) impose or
        involve obligations or Liabilities on Sellers over and above those imposed on Sellers by the other
        provisions of this Agreement, (ii) involve any out-of-pocket cost or expense (individually or in the
        aggregate) that is in amount, or (iii) include joining or otherwise becoming a party to any action or
        proceeding of any kind.

                         (c)      From and after the Closing, Purchaser and Sellers shall reasonably
        cooperate in the transition of the Purchased Assets from Sellers to Purchaser, provided that neither
        Party shall be required to expend other than nominal unreimbursed costs in providing such
        cooperation.

                        (d)      The Sellers obligations under this Section 15.1 shall terminate on the two
        (2) year anniversary of the Closing.

                 15.2 Reasonable Access to Records and Certain Personnel. For a period of two (2) years
        following the Closing, (i) the Purchaser shall permit Sellers’ counsel and other professionals and
        counsel for any successor to Sellers and their respective professionals (collectively, “Permitted
        Access Parties”) reasonable access to the financial and other books and records relating to the
        Purchased Assets or the Business, which access shall include the right of such Permitted Access
        Parties to copy, at such Permitted Access Parties’ expense, such documents and records as they
        may request in furtherance of the purposes described above, and (ii) Purchaser shall provide the
        Permitted Access Parties (at no cost to the Permitted Access Parties) with reasonable access during
        regular business hours to complete their post-Closing activities (including, without limitation,
        preparation of Tax Returns), provided that such access does not unreasonably interfere with the
        Purchaser’s business operations.



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                 15.3    Non-Competition. Each Seller hereby covenants to Purchaser that, from and after
        the Closing, each Seller shall not, directly or through a third party, develop, commercialize, license,
        or otherwise have an interest in any Competing Business in or for the Territory. This Section 15.3
        shall survive the Closing for a period of five (5) years.

        16.     Miscellaneous.

                 16.1 Attorneys’ Fees. In the event that any Party hereto brings an action or other
        proceeding to enforce or interpret the terms and provisions of this Agreement, each Party in that
        action or proceeding shall bear its own attorneys’ fees, costs and expenses (including, without
        limitation, all court costs and reasonable attorneys’ fees).

                 16.2 Notices. Unless otherwise provided herein, any notice, tender, or delivery to be
        given hereunder by any Party to the others shall be deemed effected upon personal delivery in
        writing, one Business Day after being dispatched by reputable overnight courier (e.g., FedEx),
        postage prepaid, or in the case of delivery by facsimile, as of the date of facsimile transmission
        (with answer back confirmation of such transmission), or in the case of delivery by email, as of the
        date of the email transmission (with read-receipt enabled). Notices shall be addressed as set forth
        below, but each Party may change its address by written notice in accordance with this Section
        16.2.

        To Seller(s):

                        3155 Roswell Road, Suite 120
                        Atlanta, GA 30305
                        Attn: Ned Lidvall
                        Email: nlidvall@gmail.com

        With a copy to (which shall not constitute notice):

                        Arnall Golden Gregory LLP
                        171 17th Street NW, Suite 2100
                        Atlanta, GA 30363
                        Attn: Sean P. Fogarty and Darryl S. Laddin
                        Facsimile: 404.873.8151(Sean); 404.873.8121 (Darryl)
                        Email: Sean.Fogarty@AGG.com; Darryl.Laddin@AGG.com

        To Purchaser:
                        Balu Holdings, LLC
                        11040 Hutchison Blvd
                        Panama City Beach, FL 32407
                        Attn: R.A. Spell
                        Email: Rick@spellrestaurantgroup.com

        With a copy to (which shall not constitute notice):

                        Farris Bobango PLC
                        999 S. Shady Grove Road, Suite 500
                        Memphis, Tennessee 38120
                        Attn: John A. Bobango
                        Email: jab@farris-law.com

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                        Facsimile: 901-259-7130

                 16.3 Entire Agreement. This Agreement and the documents to be executed pursuant
        hereto contain the entire agreement among the Parties relating to the subject matter hereof. Any
        oral or other agreements, representations or modifications concerning this Agreement or any such
        other document shall be of no force and effect excepting a subsequent modification in writing,
        signed by the Party to be charged.

                16.4 Modification. This Agreement may be modified, amended or supplemented only
        by a written instrument duly executed by all the Parties hereto which expressly indicates the
        intention to modify, amend or supplement this Agreement.

               16.5 Severability. Should any term, provision or paragraph of this Agreement be
        determined to be illegal or void or of no force and effect, the balance of the Agreement shall survive.

                16.6 Captions. All captions, Section titles and headings contained in this Agreement are
        for convenience of reference only and shall be without substantive meaning or context of any kind
        whatsoever and shall not be construed to limit or extend the terms or conditions of this Agreement.

                16.7 Waiver. No waiver of any of the provisions of this Agreement shall be deemed, or
        shall constitute, a waiver of other provisions, whether or not similar, nor shall any waiver constitute
        a continuing waiver. No waiver shall be binding unless executed in writing by the Party making
        the waiver; provided, however, that the Consent of a Party to the Closing shall constitute a waiver
        by such Party of any condition precedent to Closing not satisfied as of the Closing Date.

                 16.8 Payment of Fees and Expenses. Except as provided in Section 12 or otherwise
        herein, each Party to this Agreement shall be responsible for, and shall pay, all of its own fees and
        expenses, including those of its counsel, incurred in the negotiation, preparation and consummation
        of the Agreement and the Contemplated Transactions.

                 16.9 Survival. The covenants and agreements of Sellers and Purchaser herein, or in any
        certificates or other documents delivered prior to or at the Closing, shall not be deemed waived or
        otherwise affected by the Closing.

                 16.10 Assignments. This Agreement shall not be assigned by Sellers or Purchaser
        without the prior written consent of the other(s), which consent Purchaser or Sellers may grant or
        withhold in their respective sole and absolute discretion; provided, however, that Purchaser may
        assign or otherwise transfer any or all of its rights and interests hereunder to one or more affiliates,
        wholly owned subsidiaries, successors by consolidation, merger or operation of law, purchasers of
        all or substantially all of the Purchaser’s assets or business or lenders of Purchaser as collateral
        (subject, in all instances to Purchaser’s obligations under Section 8.2 hereof). No assignment by
        any Party hereunder shall be deemed to in any way limit the assignor’s liability or obligations
        hereunder.

                16.11 Binding Effect. This Agreement shall bind and inure to the benefit of the
        respective heirs, personal representatives, successors, and permitted assigns of the Parties hereto.

                16.12 Applicable Law. This Agreement shall be governed by and construed in
        accordance with the Bankruptcy Code and to the extent not inconsistent with the Bankruptcy Code,
        the law of the State of Georgia applicable to contracts made and performed in such State.


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                16.13 Construction. In the interpretation and construction of this Agreement, the Parties
        acknowledge that the terms hereof reflect extensive negotiations between the Parties and that this
        Agreement shall not be deemed, for the purpose of construction and interpretation, drafted by either
        Party hereto.

               16.14 CONSENT TO JURISDICTION. THE PARTIES AGREE THAT THE
        BANKRUPTCY COURT SHALL BE THE EXCLUSIVE FORUM FOR ENFORCEMENT OF
        THIS AGREEMENT OR THE CONTEMPLATED TRANSACTIONS AND (ONLY FOR THE
        LIMITED PURPOSE OF SUCH ENFORCEMENT) SUBMIT TO THE JURISDICTION
        THEREOF; PROVIDED THAT IF THE BANKRUPTCY COURT DETERMINES THAT IT
        DOES NOT HAVE SUBJECT MATTER JURISDICTION OVER ANY ACTION OR
        PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT, THEN EACH
        PARTY (A) AGREES THAT ALL SUCH ACTIONS OR PROCEEDINGS SHALL BE HEARD
        AND DETERMINED IN A FEDERAL COURT OF THE UNITED STATES SITTING IN THE
        CITY OF ATLANTA, GEORGIA, (B) IRREVOCABLY SUBMITS TO THE JURISDICTION
        OF SUCH COURTS IN ANY SUCH ACTION OR PROCEEDING, (C) CONSENTS THAT ANY
        SUCH ACTION OR PROCEEDING MAY BE BROUGHT IN SUCH COURTS AND WAIVES
        ANY OBJECTION THAT SUCH PARTY MAY NOW OR HEREAFTER HAVE TO THE
        VENUE OR JURISDICTION OR THAT SUCH ACTION OR PROCEEDING WAS BROUGHT
        IN AN INCONVENIENT COURT, AND (D) AGREES THAT SERVICE OF PROCESS IN ANY
        SUCH ACTION OR PROCEEDING MAY BE EFFECTED BY MAILING A COPY THEREOF
        BY REGISTERED OR CERTIFIED MAIL (OR ANY SUBSTANTIALLY SIMILAR FORM OF
        MAIL), POSTAGE PREPAID, TO SUCH PARTY AT ITS ADDRESS AS PROVIDED IN
        SECTION 16.2 (PROVIDED THAT NOTHING HEREIN SHALL AFFECT THE RIGHT TO
        EFFECT SERVICE OF PROCESS IN ANY OTHER MANNER PERMITTED BY GEORGIA
        LAW).

                16.15 Counterparts. This Agreement may be signed in counterparts. The Parties further
        agree that this Agreement may be executed by the exchange of facsimile or electronic pdf signature
        pages provided that by doing so the Parties agree to undertake to provide original signatures as
        soon thereafter as reasonable in the circumstances.

                16.16 Non-Recourse. No past, present or future member, manager, officer, employee, or
        incorporator of Sellers or Purchaser shall have any liability for any obligation or Liability of Sellers
        or Purchaser, as the case may be, under this Agreement or for any claim, counter-claim, cause of
        action or demand based on, in respect of, or by reason of, the Contemplated Transactions, except
        for any claim against any Person based on the fraud of such Person in connection with any
        representations of Sellers or Purchaser hereunder, as the case may be.

                16.17 Time is of the Essence. Time is of the essence in this Agreement, and all of the
        terms, covenants and conditions hereof.

                 16.18 Interpretation and Rules of Construction. In this Agreement, except to the extent
        that the context otherwise requires:

                       (a) when a reference is made in this Agreement to an Article, Section, Exhibit
        or Schedule, such reference is to an Article or Section of, or an Exhibit or a Schedule to, this
        Agreement unless otherwise indicated;

                        (b) the headings and captions used in this Agreement are for reference purposes
        only and do not affect in any way the meaning or interpretation of this Agreement;

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                       (c) whenever the words “include,” “includes” or “including” are used in this
        Agreement, they are deemed to be followed by the words “without limitation”;

                        (d) the words “hereof,” “herein” and “hereunder” and works of similar import,
        when used in this Agreement, refer to this Agreement as a whole and not to any particular provision
        of this Agreement;

                         (e) all terms defined in this Agreement have the defined meanings when used in
        any certificate or other document made or delivered pursuant hereto, unless otherwise defined
        therein;

                         (f) the definitions contained in this Agreement are applicable to the singular as
        well as the plural forms of such terms;

                        (g) any law defined or referred to herein or in any agreement or instrument that
        is referred to herein means such law or statute as from time to time amended, modified or
        supplemented, including by succession of comparable successor laws;

                        (h)    references to a person are also to its permitted successors and assigns; and

                        (i)   the use of “or” is not intended to be exclusive unless expressly indicated
        otherwise.

                16.19 Third Party Beneficiaries. This Agreement is intended to be solely for the benefit
        of the Parties hereto and is not intended to confer, and shall not be deemed to confer, any benefits
        upon, or create any rights in or in favor of, any Person other than the Parties hereto, and their
        respective permitted assigns.

       17. Definitions. In addition to the other terms defined elsewhere in this Agreement, for the
purposes of same, the following words and terms shall have the meaning set forth below (such meanings
being equally applicable to both the singular and plural form of the terms defined). The exhibits and
schedules referenced in this Section 17 and throughout the Agreement are deemed to be part of the
Agreement and are incorporated herein by reference.

        “Acquired Restaurant” means those restaurants which are operated at the premises leased pursuant
to a Restaurant Lease that constitutes a Purchased Contract.

         “Affiliate” of a Person means a Person that directly or indirectly, through one or more
intermediaries, controls, is controlled by, or is under common control with, the first-mentioned Person. For
purposes of this definition, “control,” when used with respect to any specified Person, means the power to
direct or cause the direction of the management and policies of such Person, directly or indirectly, whether
through ownership of voting securities or by contract or otherwise, and the terms “controlling” and
“controlled by” have meanings correlative to the foregoing.

        “Agreement” shall have the meaning provided for in the preamble.

        “Allocation Schedule” shall have the meaning provided for under Section 2.7.

        “Alternative Transaction” shall have the meaning ascribed to such term in Section 12.4 above.


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        “Assignment of Restaurant Leases” shall have the meaning provided for under Section 3.2(a).

        “Assignment of Intangible Property Assets” shall have the meaning provided for under
Section 3.2(c).

        “Assignment of Other Contracts” shall have the meaning provided for under Section 3.2(b).

        “Assumed Liabilities” shall have the meaning provided for under Section 2.3.

        “Assumption of Liabilities” shall have the meaning provided for under Section 3.3(h).

        “Auction” shall have the meaning provided for under Section 9.1.

         “Avoidance Action” means all preference or avoidance claims and actions of Sellers, including,
without limitation, any such claims and actions arising under Sections 544, 547, 548, 549, and 550 of the
Bankruptcy Code and any other affirmative Claim of Sellers against third parties, including, without
limitation, any Claims arising under non-bankruptcy law.

        “Bankruptcy Code” shall have the meaning provided for under Preliminary Statement B.

        “Bankruptcy Court” shall have the meaning provided for under Preliminary Statement B.

        “Bill of Sale” shall have the meaning provided for under Section 3.2(d).

        “Break-Up Fee” shall have the meaning provided for under Section 12.1.

        “Business” shall have the meaning provided for under Preliminary Statement A.

       “Business Day” means any day other than a Saturday or Sunday or a legal holiday on which banks
in Tennessee are closed.

        “Business Employees” shall have the meaning provided for under Section 13.1.

         “Business Permit” means any business permit, license, certificate of occupancy, registration,
certificate of public convenience and necessity, approval, easement, authorization or operating right issued
or granted by any Governmental Body having jurisdiction over the Business.

        “Cash Purchase Price” shall have the meaning provided for under Section 3.3(a).

        “Casualty” shall have the meaning provided for under Section 11.4.

        “Casualty Notice” shall have the meaning provided for under Section 11.4.

        “Chapter 11 Cases” shall have the meaning provided for under Preliminary Statement B.

        “Claim” means any claim, cause of action, right of recovery, right of set-off, and right of
recoupment of every kind and nature including but not limited to prepayments, warranties, guarantees,
refunds, reimbursements.

        “Closing” shall have the meaning provided for under Section 3.1.


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        “Closing Date” shall have the meaning provided for under Section 3.1.

        “Code” means the Internal Revenue Code of 1986, as amended.

        “Competing Business” means any similar business that provides goods and services similar to
what the Acquired Restaurants provide as of the Effective Date in any form, including another Latin
inspired cuisine restaurant or any other type of full-service restaurant.

        “Consent” means any consent, approval, authorization, affirmative vote, waiver, agreement or
license by, or report or notice to, any Person.

        “Contemplated Transactions” shall have the meaning provided for under Preliminary Statement
C.

        “Contract” means any executory contract or unexpired lease within the meaning of the Bankruptcy
Code.

        “Copyright” means all copyrightable works, and all United States and foreign registered copyrights
and applications, registrations and renewals therefor, and any past, present or future claims or causes of
actions arising out of or related to any infringement or misappropriation of any of the foregoing.

       “Cure Costs” means the amounts required to be paid as cure amounts under Section 365 of the
Bankruptcy Code so that Sellers may sell, assume and assign the Purchased Contracts to Purchaser.

        “Cure Costs Cap” shall have the meaning provided for under Section 2.5(a).

        “Cure Costs Election Notice” shall have the meaning provided for under Section 2.5(b).

        “Deposit” shall have the meaning provided for under Section 2.1(b).

        “Documents” shall have the meaning provided for under Section 1.1(i).

        “Domain Name” means the internet domain names owned by Sellers, and all registrations,
applications and renewals related to the foregoing.

        “Effective Date” shall have the meaning provided for in the preamble.

         “Encumbrance” means any claim, lien, pledge, option, charge, easement, Tax assessment, security
interest, deed of trust, mortgage, right-of-way, encroachment, building or use restriction, conditional sales
agreement, encumbrance or other right of third parties of any sort whatsoever, whether voluntarily incurred
or arising by operation of law, and includes any agreement to give any of the foregoing in the future, and
any contingent sale or other title retention agreement or lease in the nature thereof.

         “Entity” means any corporation (including any nonprofit corporation), general partnership, limited
partnership, limited liability partnership, joint venture, estate, trust, cooperative, foundation, society,
political party, union, company (including any limited liability company or joint stock company), firm or
other enterprise, association, organization or entity.

        “Escrow Holder” shall have the meaning provided for under Section 2.1.

        “Excluded Assets” shall have the meaning provided for under Section 1.2.

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        “Excluded Contract” means any Sellers’ Contract that is not a Purchased Contract.

        “Excluded Liability” shall have the meaning provided for under Section 2.4.

       “Excluded Petty Cash” means, collectively, any petty cash of Sellers (i) on the premises of any of
the Acquired Restaurants in excess of $700, and (ii) on any premises or at any location that is not an
Acquired Restaurant.

        “Furniture and Equipment” means, to the extent located at, forming part of, or used primarily in
connection with an Acquired Restaurant, all fixtures and other Leasehold Improvements, counters, point of
service systems (“POS”), manager work stations (“MWS”), training work stations (“TWS”) hoods,
washers, disposal systems, ovens, grills, fryers, refrigeration units, artwork, racks, stands, displays,
counters, desks, chairs, tables, dispensers, and other furniture and furnishings, hardware, vehicles, tools,
small ware, and other equipment (copiers, fax machines, telephone lines and numbers, computers, printers,
and other telecommunication equipment), and miscellaneous office and store supplies and other items of
tangible personal property owned or used by Sellers in the conduct of the Business. As used herein, the
“Furniture and Equipment” does not include any tangible property held by Sellers pursuant to a Contract
where Purchaser does not assume at the Closing the underlying Contract relating to such property.

        “Gift Certificates” means any gift certificates, gift cards, or food/beverage credits that were issued
by Seller prior to the Closing Date and are required to be honored by Sellers in the ordinary course of
business.

        “Good Funds” shall have the meaning provided for under Section 2.1(b).

         “Governmental Body” means any: (a) nation, principality, state, commonwealth, province,
territory, county, municipality, district or other jurisdiction of any nature; (b) federal, state, local, municipal,
foreign or other government; (c) governmental or quasi-governmental authority of any nature (including
any governmental division, subdivision, department, agency, bureau, branch, office, commission, council,
board, instrumentality, officer, official, representative, organization, unit, body or Entity and any court or
other tribunal); (d) multinational organization or body; or (e) individual, Entity or body exercising, or
entitled to exercise, any executive, legislative, judicial, administrative, regulatory, police, military or taxing
authority or power of any nature. Notwithstanding the foregoing, no individual or Entity referenced in
clauses (c)-(e) of this definition will be considered a “Governmental Body” for purposes of this definition
unless the rules, regulations or promulgations thereof have the force of law thereof.

          “Indebtedness” shall mean and include (i) all obligations for borrowed money, (ii) all obligations
evidenced by bonds, debentures, notes or other similar instruments, (iii) all obligations to pay the deferred
purchase price of property or services (other than accounts payable and accrued expenses), (iv) all
obligations with respect to capital leases, (v) all obligations created or arising under any conditional sale or
other title retention agreement with respect to property acquired by such Person, (vi) all non-contingent
reimbursement and other payment obligations in respect of letters of credit and similar surety instruments
(including construction performance bonds, but not contingent obligations in respect of letters of credit and
similar surety instruments (including construction performance bonds)), and (vii) all guaranty obligations
with respect to the types of obligations listed in clauses (i) through (vi) above.

        “Intangible Property Assets” means any Intellectual Property Assets or Other Intangible Property
Assets owned or held by Sellers. As used in this Agreement, “Intangible Property Assets” shall in all events
exclude: (i) any materials containing information about employees to the extent disclosure of which is
prohibited under applicable Law, and (ii) any software or other item of intangible property held by Sellers

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pursuant to a license or other Contract where Purchaser does not assume the underlying Contract relating
to such software or item of intangible personal property at the Closing.

        “Intellectual Property Assets” means intellectual property or other proprietary rights of Sellers of
every kind throughout the world, both domestic and foreign, which, in each case, are related to the Business,
including all inventions and improvements thereon, Patents, Trademarks, Trademark Rights, Copyrights,
Domain Names, Technology, Recipes and trade secrets.

         “Inventory” means all food, all supplies, goods, finished goods, materials, raw materials, work in
process, perishable inventory and stock in trade owned by any Seller, whether or not prepaid, and wherever
located, held or owned, including all fresh and frozen foodstuffs, alcoholic beverages, non-alcoholic
beverages, disposable paper goods (such as napkins and paper towels), soaps and detergents, condiments,
retail merchandise, replacement and spare parts and fuels and other similar items owned and held by Sellers
or used in connection with the Acquired Restaurants, wherever located.

        “Large Party Deposit” means any cash deposit, prepayment, down-payment, or reservation fee
made to Sellers in connection with a Large Party Reservation.

        “Large Party Reservation” means a reservation for space, food, beverage, and associated service
for any party larger than 12 people at any Acquired Restaurant made with the payment of a Large Party
Deposit for a date and time after the Closing Date including, for example, a large family party or gathering,
a corporate party or function, or a similar group function planned in advance.

        “Leasehold Improvements” means any leasehold improvements or appurtenances to such
improvements (including, without limitation, buildings, structures, storage areas, driveways, walkways,
planters, landscaping and parking areas).

          “Legal Requirement” means any applicable federal, state, local, municipal, foreign or other law,
statute, legislation, constitution, principle of common law, resolution, ordinance, code, edict, proclamation,
treaty, convention, rule, regulation, directive, pronouncement, requirement, notice requirement, guideline,
Order, specification, determination, opinion or interpretation issued, enacted, adopted, passed, approved,
promulgated, made, implemented or otherwise put into effect by or under the authority of any Governmental
Body. Notwithstanding the foregoing, no such proclamation, convention, directive, pronouncement,
guideline, specification, determination, opinion or interpretation, shall be considered a “Legal
Requirement” for purposes of this definition unless the same is mandatory and has the force of law.

        “Liability” means any direct or indirect liability, Indebtedness, obligation, commitment, expense,
claim, deficiency, guaranty or endorsement of any type whatsoever, whether accrued or unaccrued, absolute
or contingent, matured or unmatured, liquidated or unliquidated, known or unknown, asserted or unasserted,
due or to become due.

        “Liquor Inventory” means the Sellers’ interest in the inventory of beer, wine and liquor at all of
the Restaurants, as determined on the applicable date.

        “Liquor License” means all liquor licenses (including, without limitation, beer and wine licenses)
held or used by a Seller in the operation of the Business.

        “Liquor License Approval” shall have the meaning provided for under Section 8.1.

        “Management Agreement” means the agreement substantially in the form attached as Exhibit A.


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        “Material Casualty” shall have the meaning provided for under Section 11.4.

      “Order” means any judgment, decision, consent decree, injunction, ruling or order of any
Governmental Body that is binding on any Person or its property under applicable law.

        “Other Contract” means any Sellers’ Contract other than the Restaurant Leases.

         “Other Intangible Property Assets” means all intangible personal property (other than the
Intellectual Property Assets) owned or held by Sellers, including, without limitation, (A) the books and
records pertaining to the Business; (B) proprietary information relating to the Business, including but not
limited to catalogues, customer lists and other customer data bases, correspondence with present or
prospective customers and suppliers, advertising materials, software programs, and telephone numbers
identified with the Business; and (C) all goodwill of the Business.

        “Outside Date” means October 27, 2019.

        “Parties” shall have the meaning provided for in the preamble.

        “Patent” means the United States and foreign patents and patent applications owned by Sellers,
including any continuations, divisionals, continuations in part, or reissues of patent applications and patents
issuing thereon and any past, present or future claims or causes of action arising out of or related to any
infringement or misappropriation of any of the foregoing.

        “Permitted Access Parties” shall have the meaning provided for under Section 15.2.

         “Permitted Encumbrances” means (a) statutory landlord Encumbrance, (b) in the case of any
Restaurant Lease, zoning, building, or other restrictions, variances, exceptions, reservations, limitations,
covenants, rights of way, encumbrances, easements and other irregularities in title of public record on real
property that do not materially detract from the value of the affected Acquired Restaurants and do not
materially interfere with the present or intended use of such Acquired Restaurants and (c) Encumbrances
that will be released by the Sale Order.

        “Person” means an individual, Entity or Governmental Body.

        “Petition” means the petitions that commenced the Chapter 11 Cases.

        “Petition Date” means July 30, 2019.

        “Previously Omitted Contract” shall have the meaning provided for under Section 2.6(b)(i).

         “Previously Omitted Contract Designation” shall have the meaning provided for under Section
2.6(b)(i).

         “Previously Omitted Contract Notice” shall have the meaning provided for under Section
2.6(b)(ii).

        “Procedures Order” shall have the meaning provided for under Section 9.1.

        “Purchase Price” shall have the meaning provided for under Section 2.1.

        “Purchased Assets” shall have the meaning provided for under Section 1.1.

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         “Purchased Contract” is defined in Section 1.1(f) hereof. Notwithstanding anything in Section
1.1(f) to the contrary, a Contract shall not constitute a “Purchased Contract” if Purchaser removes such
Contract from Schedule 1.1(f) as provided in Section 1.3(b).

        “Purchased Intellectual Property” shall have the meaning provided for under Section 1.1(l).

        “Purchaser” shall have the meaning provided for in the preamble.

        “Purchaser Misconduct Order” shall have the meaning provided for under Section 14.2.

         “Receivables” means all accounts receivable (whether current or non-current) (whether billed or
unbilled) of the Business attributable to the operation of the Acquired Restaurants as of the Closing, even
if such accounts receivable become due and payable after the Closing, and all causes of action specifically
pertaining to the collection of the foregoing.

         “Recipes” means all of Sellers’ recipes, methods, procedures, cooking/ preparation/mixing
publications, guidelines, or standards, knowhow, ingredient lists, menus, price lists, nutritional, health, or
dietary information, publications, or disclosures, and promotional or informational materials, in each case
whether related to food, beverages (whether alcoholic or non-alcoholic), or otherwise (in each case, written
or oral or in any other form whatsoever).

        “Restaurants” shall have the meaning provided for under Preliminary Statement A.

         “Restaurant Lease” means any real property lease of any of the Sellers set forth on Schedule 1.1(f)
under which an Acquired Restaurant is included on the premises leased thereunder, together with all rights
and interests of Sellers relating thereto, whether held directly by Sellers or indirectly through an agent or
nominee (including but not limited to all security deposits, purchase options, renewal options, rights of first
refusal, reconveyance rights and expansion rights, if any, fixtures, systems, equipment and items of personal
property of Sellers attached or appurtenant thereto, all Leasehold Improvements thereon or forming a part
thereof and all easements, licenses, rights and appurtenances thereto and associated with such Restaurant
Lease).

       “Restaurant Petty Cash” shall mean petty cash of Sellers on the premises of any Acquired
Restaurant, other than Excluded Petty Cash.

        “Sale Hearing” shall have the meaning provided for under Section 9.1.

        “Sale Motion” shall have the meaning provided for under Section 9.1.

        “Sale Order” shall have the meaning provided for under Section 9.1.

        “Sellers” shall have the meaning provided for in the preamble.

         “Sellers’ Contract” means any Contract (a) to which any of Sellers is a party or by which any of
Sellers is bound and (b) that is related to the Business.

        “Sellers’ Knowledge” means the actual knowledge of the Chief Executive Officer or the Chairman
of the Board of the Sellers.



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         “Standard Exceptions to Enforceability” means any bankruptcy, insolvency, reorganization,
moratorium, fraudulent transfer or other laws (whether statutory, regulatory or decisional), now or hereafter
in effect, relating to or affecting the rights of creditors generally or by equitable principles (regardless of
whether considered in a proceeding at law or in equity).

         “Subsidiary” means, with respect to any Person, (a) any corporation of which at least 50% of the
securities or interests having, by their terms, ordinary voting power to elect members of the board of
directors, or other persons performing similar functions with respect to such corporation, is held, directly
or indirectly by such Person and (b) any partnership or limited liability company of which (i) such Person
is a general partner or managing member or (ii) such Person possesses a 50% or greater interest in the total
capitalization or total income of such partnership or limited liability company.

        “Tax” means any federal, state, local or foreign income, gross receipts, license, payroll,
employment, excise, severance, stamp, occupation, premium, windfall profits, environmental, customs
duties, capital stock, franchise, profits, withholding, social security, unemployment, disability, real
property, personal property, sales, use, transfer, registration, value added, alternative or add-on minimum,
estimated, or other tax of any kind whatsoever, including any interest, penalty, or addition thereto, whether
disputed or not.

        “Tax Return” means any return, declaration, report, claim for refund, transfer pricing report or
information return or statement relating to Taxes, including any schedule or attachment thereto, and
including any amendment thereof.

        “Technology” means, collectively, all designs, formulae, algorithms, procedures, methods,
techniques, know how, research and development, technical data, programs, subroutines, tools, materials,
specifications, processes, inventions (whether patentable or unpatentable and whether or not reduced to
practice), apparatus, creations, improvements, works of authorship and other similar materials, and all
recordings, graphs, drawings, reports, analyses, and other writings, and other tangible embodiments of the
foregoing, in any form whether or not specifically listed herein, and all related technology.

        “Territory” means the area within a radius of ten (10) miles of an Acquired Restaurant.

         “Trademarks” means all trademark registrations and applications for trademark registration owned
by Sellers, together with the goodwill associated with any of the foregoing, and all applications,
registrations and renewals thereof, and any past, present or future claims or causes of action arising out of
or related to any infringement or misappropriation of any of the foregoing.

         “Trademark Rights” means all common law rights in the United States and any foreign jurisdiction
in any trade names, corporate names, logos, slogans, designs, trade dress, and unregistered trademarks and
service marks owned by Sellers, together with all translations, adaptations, derivations and combinations
thereof, and the goodwill associated with any of the foregoing.

        “Transfer Taxes” shall have the meaning provided for under Section 3.4.

        “Transferred Employee” shall have the meaning provided for under Section 13.1.

        “Utilities” shall have the meaning provided for under Section 2.8.

        “WARN Act” means the United States Worker Adjustment and Retraining Notification Act, and
the rules and regulations promulgated thereunder, or any formulation of similar rights arising under
applicable state law.

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                                 Exhibit A

                        Form of Management Agreement

                                (See attached)
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                                                FORM OF

                      INTERIM BEVERAGE MANAGEMENT AGREEMENT

       This Interim Beverage Management Agreement (this “Agreement”) is dated and effective as of
October [●], 2019 (“Effective Date”), by and between [Name of Debtor], a [●] limited liability company
(“Licensee”) and Balu Holdings, LLC, a Delaware limited liability company (“Owner”).

                                         Preliminary Statements

    A. Licensee has heretofore conducted wine, beer and retail beverage sales within the restaurant
known as “Babalu” located at [Address of Restaurant] (the “Restaurant”) and has been issued one or
more licenses and permits, including, but not limited to those set forth on Schedule I authorizing
Licensee to sell and serve distilled spirits, wine, malt beverages liquor, high gravity beer and beer at the
Restaurant (“Licensee Permits”).

    B. Concurrently with the execution and delivery of this Agreement, the Restaurant is being sold,
assigned and transferred by Licensee, as seller, to Owner, as purchaser, pursuant to that certain Asset
Purchase Agreement by and among Licensee, Owner and the other parties thereto (the “APA”) dated
September 9, 2019 (the “APA Date”), and this Agreement is executed in an effort to prevent an
interruption in retail beverage service and allow Owner ample time to obtain new retail beverage service
licenses for the Restaurant.

    C. Therefore, Owner desires for Licensee to continue operation of the beverage service and all
activities necessary or incidental thereto as previously conducted immediately prior to the sale to Owner,
pending issuance to Owner of all licenses necessary to operate the beverage service at the Restaurant
(“Beverage Operations”). The phrase “beverage service” includes the sale and service of alcoholic
beverages (distilled spirits, wine, malt beverages liquor, high gravity beer and beer) as permitted under
the applicable licenses issued by the [State]’s [Division of Alcoholic Beverages and Tobacco]
(“DABT”).

       NOW THEREFORE, in consideration of the mutual promises and covenants herein contained,
Licensee and Owner, intending to be legally bound, hereby agree as follows:

        1.      Preliminary Statements. The preliminary statements set forth above are true and correct
and are hereby incorporated by reference into this Agreement as if the same were fully set forth herein.

         2.     Filing of Application(s). Immediately following the APA Date, Owner or its designee
has commenced all actions required to obtain new licenses necessary to operate the Beverage Operations
in its own name, diligently pursue the same and has used commercially reasonable efforts to complete the
application process in a timely manner.

         3.      Licensee’s Permits. Licensee shall use its best efforts to keep its licenses and permits
for the Beverage Operations in full force and effect and in good standing for the duration of the Term (as
hereinafter defined). Copies of the permits and licenses for the Beverage Operations of Licensee are set
forth on Schedule I annexed hereto and made a part hereof (“Permits”). During the Term, Licensee shall
retain all ownership and control of its Permits. Notwithstanding anything contained herein to the contrary,
Owner acknowledges that Licensee has made no representations with respect to its Permits or the
alcoholic beverage inventory at the Restaurant and that it is accepting the rights granted herein without
any representations by Licensee.




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         4.      Management. Owner hereby grants unto Licensee the sole and exclusive right to
continue to provide the Beverage Operations and full access to the Restaurant at all times. At all times
during the Term, Licensee and Owner shall comply with all federal, state and local laws concerning the
purchase, storage, distribution, possession, transportation and sale of alcoholic beverages, and shall be
responsible for any and all citations arising therefrom. Without limiting the generality of any term herein,
Licensee shall perform the Beverage Operations in a good faith and highly professional manner and shall
at all times act with the standard of skill, care and expertise that would be customary and reasonably
expected from a prudent manager of comparable Beverage Operations. All duties to be performed by
Licensee under this Agreement shall be for and on behalf of Owner, in the name of Owner, and for
Owner’s account, and none of such duties are to be performed at Licensee’s expense. Without limiting
Licensee’s exclusive right and authority to conduct the Beverage Operations, in providing its services
hereunder, Owner shall without limitation provide the following on behalf of Licensee:

                (a)     Inventory and Supplies. Owner shall provide, at its sole cost and expense, during
        the Term all operating equipment and supplies (including glassware and other supplies,
        "Operating Supplies") necessary for Licensee to manage the Beverage Operations in a
        professional manner consistent with the management of restaurants of a quality and type similar
        to the Restaurant. During the Term, Owner shall purchase alcohol beverage inventory
        (“Beverage Inventory”) from accounts with liquor wholesalers in Licensee’s name, which shall
        be paid from accounts owned by Owner. During the Term, Licensee shall be deemed (pursuant to
        the power and authority retained by Licensee) to exercise the ownership and control over all
        Beverage Inventory and Beverage Operations at the Restaurant.

                (b)      Fixtures and Equipment: Maintenance; Surrender. Owner shall, at its sole cost
        and expense, provide all fixtures, equipment, furnishings, and furniture necessary for the
        Beverage Operations in a manner consistent with the management of restaurants of a quality and
        type similar to the Restaurant.

        5.       Liquor Employees. “Liquor Employees” means bar managers, bartenders, bar-backs,
cocktail servers and other employees of the Owner who are dedicated to the Beverage Operations. The
Liquor Employees are, and at all times during the Term will be, employees of the Owner and not of
Licensee. Notwithstanding the foregoing, during the Term, the Owner delegates to Licensee and agrees
that Licensee shall have, subject to the terms of this Agreement, the exclusive responsibility and authority
to direct the selection, control, promotion, discipline, and discharge of all Liquor Employees in
accordance with applicable laws and the Restaurant policies and procedures in effect from time to time.
Owner shall be solely responsible for the compensation, including, but not limited to, salary, bonuses,
benefits, PTO, insurance and taxes for any Liquor Employees.

         6.      Inspection of Beverage Operations. Owner, any unaffiliated third person lenders, and
their respective representatives may, at all reasonable times, enter in and upon the areas in which the
Beverage Operations are being conducted to examine the condition thereof and to observe the Beverage
Operations.

        7.      Expense Reimbursement. Owner agrees that all fees, costs and expenses incurred by
Licensee in connection with this Agreement, provision of the services contemplated hereunder or in
connection with any license or permit relating to the Beverage Operations (including without limitation,
any renewal or extension of such license or permits) shall be promptly paid by or reimbursed by Owner.

        8.     Management Fee. In consideration of Licensee’s performance of its obligations under
this Agreement, Owner shall pay to Licensee for the management of Beverage Operations a fee equal to
Ten and 00/100 U.S. Dollars ($10.00) for each thirty (30)-day period (each, a “Period”) of the Term (the


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“Management Fee”), payable within five (5) business days after the earlier of the final day of the
applicable Period or the termination of the Agreement, which amount shall be prorated for any partial
Period.

        9.      Term and Transition.

                (a)      Term. This Agreement shall commence as of the effective date first above
        written and continue until the earlier of (i) 90 calendar days from the effective date of this
        Agreement or (ii) until all permits to serve beer and liquor at the Restaurant have been issued to
        Owner (“Term”). In the event Owner believes that all permits to serve beer and liquor at the
        Restaurant will not be issued to Owner within 90 calendar days from the effective date of this
        Agreement, Owner may, within seven (7) calendar days prior to the expiration of the 90 day term,
        request in writing to Licensee that Licensee consent to the extension of the Term for additional 45
        days, and such consent shall not be unreasonably withheld or delayed.

                (b)      Transition Cooperation. Upon the termination or expiration of this Agreement,
        Licensee will take reasonable steps for the orderly transition of management of the Beverage
        Operations to Owner or its designee(s) pursuant to a transition plan mutually agreed upon by
        Owner and Licensee. With respect to any termination of this Agreement, Owner and Licensee
        will negotiate towards a transition plan in good faith and in a manner that is reasonable in light of
        the circumstances of such termination and which provides for the continuance of Beverage
        Operations at the Restaurant. The transition plan shall be implemented for period that is
        reasonable in light of the circumstances of such termination.

         10.    Accounting. On behalf of Licensee, Owner shall deposit in any bank insured by the
Federal Deposit Insurance Corporation (FDIC), all monies received by Owner on behalf of Licensee
relating to Beverage Operation. On behalf of Licensee, Owner shall disburse and pay monies in such
amounts and at such times as the same are required to be made in connection with:

                 (a)     All federal and state taxes, assessments and charges of every kind imposed by
        any governmental agency relating to the purchase and sale of beer and alcoholic beverages at the
        Restaurant that become due and payable during the Term, unless payment is in good faith being
        contested by Licensee and enforcement thereof is stayed. All taxes shall be remitted under tax
        identification numbers issued to Licensee;

               (b)      All costs and expenses of purchasing beer and alcoholic beverages for sale at the
        Restaurant;

                 (c)   Insurance premiums, professional fees, management fees and all reimbursements
        or other payments due pursuant to the provisions of this Agreement;

                (d)     All other budgeted items of expense.

         Licensee shall not be responsible for any expenses, obligations or liabilities arising from or
relating to the Beverage Operations from and after the date hereof. Owner shall, as a part of its services
under this Agreement, in a timely manner pay all expenses incurred in operating the Beverage Operations,
including but not limited to, any and all purchases of the Beverage Inventory and any and all taxes
associated with the Beverage Operations, from the revenues and receipts Owner collects. In the event that
expenses exceed revenues and receipts, Owner shall have the obligation or liability for such shortfall, and
Licensee shall have no obligation or liability for the shortfall.




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          11.    Books and Records. Owner on behalf of Licensee shall arrange for the keeping of full
and adequate books of account and other records necessary to reflect the results of the operation of food
and beverage service of the Restaurant. The books of account shall be kept, in all material respects, in
accordance with generally acceptable accounting practices for Restaurant. The books of account and all
of the records relating to, or reflecting the operation of, the Beverage Operations of the Restaurant shall
be kept at the Restaurant and shall be available to Licensee and Owner at all reasonable times for
examination, inspection and copying. Upon termination of this Agreement, all books and records (or
copies thereof) shall be promptly turned over to Owner, to ensure the orderly continuance of the Beverage
Operations of the Restaurant. The books and records of food and beverage service of the Restaurant
through the date of termination of this Agreement shall be available to Licensee and Owner at all
reasonable times for inspection, examination and copying, and Licensee shall be entitled to retain a copy
for its records upon termination of this Agreement.

        12.     Legal proceedings. Each party shall have the right to institute and defend in any legal
actions or proceedings relating to matters arising out of the service of beer and/or alcoholic beverages at
the Restaurant.

        13.      Default. This Agreement may be terminated by either party, at its option, immediately
upon the failure of either party to perform, keep or fulfill any of the covenants, undertakings, obligations
or conditions set forth in this Agreement, and the continuance of such default for a period of ten (10) days
after written notice is given by the other party specifying said failure.

         14.      Notices. All notices that are required or permitted hereunder shall be in writing and shall
be sufficient if personally delivered or sent by registered or certified mail, facsimile message, or Federal
Express or other nationally recognized overnight delivery service. Any notices shall be deemed given
upon the earlier of the date when received at, or the third day after the date when sent by registered or
certified mail or the day after the date when sent by Federal Express or other nationally recognized
overnight delivery service or facsimile to the address or facsimile number set forth below, unless such
address or facsimile number is changed by written notice to the other parties in accordance with this
Agreement:

                For Licensee:    [Name of Debtor], LLC
                                 ____________________
                                 Attention: [●]

                For Owner:       Balu Holdings, LLC
                                 [Address of Purchaser]
                                 Attention: R. A. Spell

        15.     Indemnification and Insurance.

                (a)     Owner (“Indemnifying Party”) shall indemnify, defend, and hold harmless
        Licensee and its agents, officers, directors, shareholders, parents, subsidiaries and affiliates
        (individually “Indemnitee” or collectively, “Indemnitees”) from any and all liabilities, damages,
        or claims, costs, unpaid operating expenses, penalties, citations, enforcement actions, losses, or
        expenses of every kind and description, including allegations of negligence by Indemnitees and
        including reasonable attorneys’ fees (collectively, “Damages”), sustained or incurred by any of
        the Indemnitees to the extent that such Damages arise from or are related to (i) any matter arising
        out of or related to this Agreement, (ii) the use of the existing liquor licenses, (iii) Beverage
        Operations, (iv) the operation of the food and beverage facilities on the Restaurant, (v) the
        employment or use of any employee, agent, or independent contract by the Owner, and (vi) any



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        action or inaction by any entity or person on or in either the Restaurant or any property owned,
        leased, or under the exclusive or shared control of the Indemnifying Party, from and after the date
        hereof, except to the extent such Damages arise from the gross negligence or willful misconduct
        of Licensee.

                  (b)      This defense, indemnity and hold harmless agreement shall not apply to any
        liability arising from any act or omission of Licensee prior to the Effective Date.

                 (c)    Upon discovery by any Indemnifying Party of facts giving rise to a claim for
        indemnity under the provisions of this Agreement (“Claim”), including receipt of notice of any
        demand, assertion, claim, action or proceeding, judicial or otherwise by any person or entity, the
        Indemnifying Party will give prompt notice thereof in writing to Licensee. Upon receipt of such
        notice, Indemnitees shall make written demand for indemnification under this Agreement.

                 (d)     Indemnitees shall have the right, through counsel of their choice, subject to the
        terms and conditions of Indemnifying Parties’ insurance policies then in effect and Indemnifying
        Parties’ approval, not to be unreasonably withheld, conditioned or delayed and at the
        Indemnifying Party’s expense, to control the defense or response to any such action if it could
        affect the interests of any Indemnitee, and such undertaking by an Indemnitee shall not diminish
        the Indemnifying Party’s obligations to Indemnitees hereunder, in any manner or form. Under no
        circumstances shall any Indemnitee be required or obligated to seek recovery from third parties or
        otherwise mitigate its losses in order to maintain a claim under this indemnification and against
        the Indemnifying Party, and the failure of any Indemnitee to pursue such recovery or mitigate loss
        will in no way reduce the amounts recoverable by any Indemnitee from the Indemnifying Party.
        In the event the Indemnitees choose their own counsel, the Indemnifying Party shall have the
        right to approve any settlement in excess of fifty thousand dollars ($50,000.00) reached during
        the course of any such action, and Indemnifying Parties’ approval of such settlement shall not be
        unreasonably withheld, conditioned or delayed.

                (e)     The obligations of Indemnifying Party under this Section 15 shall survive the
        termination or expiration of this Agreement.

                (f)      Throughout the Term, Owner will maintain or caused to be maintained policies
        of commercial general liability insurance (including without limitation dram shop liquor liability
        insurance) with coverages and in amounts reasonably acceptable to Licensee. Such insurance
        policies shall name Licensee as an additional insured. The policy holders shall furnish evidence
        of such insurance upon execution of this Agreement and thereafter, at any time, within ten (10)
        days after written request from Licensee. Licensee may, but is not obligated to, maintain or cause
        to be maintained a dram shop liquor liability insurance policy covering Licensee with coverages
        and amounts reasonably required by Licensee, the costs and premiums of which shall be the
        responsibility of Owner, at Owner’s sole cost and expense.

         16.     Limitations of Performance. Notwithstanding any other provision in this Agreement to
the contrary, Licensee shall be excused from the performance of its obligations under this Agreement
(i) to the extent and whenever Licensee shall be prevented from performance by acts of God, war,
insurrection, terrorism, riots, strikes, fire, failure of any applicable governmental authority to issue
required governmental licenses or permits, and any other occurrence, event or condition beyond the
reasonable control of Licensee; (ii) to the extent of an uncured material or monetary breach by Owner of
any provision of this Agreement; and (iii) to the extent and whenever there is provided in this Agreement
a limitation upon the ability of Licensee to expend funds.




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        17.      Liquor Authorities. Owner and Licensee agree that notwithstanding any of the
provisions herein, if at any time during the Term, the liquor authorities require or prohibit any act on the
part of Owner or Licensee, Owner or Licensee, as applicable, shall comply with such requirement or
prohibition as the case may be, and any such compliance shall not be deemed a breach of this Agreement.

         18.    Power. Each of Licensee and Owner represents that it has the legal power, right and
authority to enter into this Agreement and the instruments referenced herein, and to consummate the
transactions contemplated hereby.

        19.     Authority. Each of the individuals executing this Agreement and the instruments
referenced herein on behalf of Licensee and/or Owner represents that he or she has the legal right, power
and authority to bind the party on whose behalf such individual is executing this Agreement and such
other instruments to the terms and conditions hereof and thereof.

        20.      Validity. This Agreement is and shall be a valid, legally binding obligation of and
enforceable against Licensee and Owner in accordance with its terms, subject only to applicable laws
affecting or limiting the rights of contracting parties generally.

         21.     Survival. Unless expressly stated to the contrary, all obligations by one party to the other
shall survive the end of the Term.

         22.     Partial Invalidity. If any of the phrases, sentences, clauses or paragraphs contained in
this Agreement shall be declared invalid by the final and unappealable order, decree, or judgment of any
court, this Agreement shall be construed as if such phrases, sentences, clauses or paragraphs had not been
inserted, provided that the economic basis of this Agreement is not hereby altered.

        23.     Modifications; Waivers. This Agreement may not be changed, modified or terminated,
nor may any provision hereof be waived, except by a writing signed by the party to be charged with any
such change, modification, termination or waiver. The waiver of any of the terms and conditions of this
Agreement on any occasion or occasions shall not be deemed a waiver of such terms and conditions on
any future occasion.

      24.  Limitation of Liability. NO PARTY HERETO SHALL BE LIABLE TO ANY OTHER
PARTY HERETO FOR ANY PUNITIVE, CONSEQUENTIAL, INCIDENTAL, SPECIAL OR
INDIRECT DAMAGES.

        25.      Governing Law. This Agreement shall be governed by, interpreted under, construed and
enforced in accordance with the laws of [State] and the courts of such State shall have jurisdiction over
any matters arising hereunder.

         26.     Assignment. No party hereto may assign or transfer any of its rights or delegate any of
its obligations under this Agreement to any other person, firm or company without the written consent of
the others. Any such consent may be withheld in a party's sole and absolute discretion.

        27.    No Joint Venture. Nothing in this Agreement creates a joint venture or partnership and,
except as may be expressly set forth herein, no party is given the authority to bind or obligate any other
party.

       28.     Counterparts. This Agreement may be executed in any number of counterparts, each of
which shall be deemed an original, and all of which, taken together, shall constitute one and the same




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agreement. This Agreement may be executed by facsimile or electronic signatures, which facsimile or
electronic signatures shall be deemed an original of this Agreement.

        29.      Entire Agreement. This Agreement contains the entire agreement of the parties hereto
with respect to the subject matter hereof and supersedes any discussions, offers, proposals, agreements or
promises with respect thereto.

        30.      Enforcement. This Agreement constitutes the entire agreement between the parties and
supersedes any and all prior understandings or agreements. Any changes or amendments to this
Agreement must be in writing and signed by both parties. Otherwise, this Agreement shall be binding on
and inure to the benefit of the successors and assigns of the parties. A waiver by either party of any term
or condition of this Agreement shall not be deemed or construed as a waiver of the term or condition in
the future, or a waiver of any subsequent breach of the Agreement. This Agreement shall be construed
according to its fair meaning and not strictly for or against either party.

         31.     Attorneys’ Fees. In the event of any litigation, mediation, or arbitration in connection
with or with respect to this Agreement, the prevailing party shall be awarded all costs, including, without
limitation, reasonable attorneys’ fees.



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                       [Signature Page, Interim Beverage Agreement]

      IN WITNESS WHEREOF, the parties hereto have duly executed this Interim Beverage
Management Agreement as of the Effective Date.

                                     Licensee

                                     [Name of Debtor], LLC
                                     a [●] limited liability company

                                     By: ____________________________
                                     Name: __________________________
                                     Title: ___________________________


                                     Owner

                                     Balu Holdings, LLC,
                                     a Delaware limited liability company


                                     By:_______________________________
                                     Name: R. A. Spell
                                     Title: ___________________________




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                                      Schedule I

                                 Licenses and Permits




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                                   Exhibit B

                     Form of Restrictive Covenant Agreement

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                      FORM OF RESTRICTIVE COVENANT AGREEMENT

        This Restrictive Covenant Agreement (this “Agreement”) is entered into as of [●], 2019, by and
between Balu Holdings, LLC, a Delaware limited liability company (“Purchaser), and the Person listed as
the Restricted Party on the signature page hereto (the “Restricted Party”). Capitalized terms used but not
otherwise defined in this Agreement shall have the meanings assigned to them in the Purchase Agreement
referred to below.

                                    PRELIMINARY STATEMENTS

    A. Pursuant to and subject to the terms and conditions set forth in the Asset Purchase Agreement (as
       amended, restated, supplemented or otherwise modified from time to time, the “Purchase
       Agreement”), dated as of September 9, 2019, by and among Eat Here Brands LLC, a Delaware
       limited liability company (“EHB”), Babalu Birmingham #1, LLC, an Alabama limited liability
       company, Babalu Atlanta #1 LLC, a Georgia limited liability company, Babalu Memphis #1,
       LLC, a Tennessee limited liability company, Babalu Memphis #2 LLC, a Tennessee limited
       liability company, Babalu Knoxville #1, LLC, a Tennessee limited liability company, and Babalu,
       LLC, a Mississippi limited liability company (each of the foregoing a “Seller” and collectively,
       “Sellers”) and Purchaser (the “Transaction”). Capitalized terms used but not defined herein have
       the respective meanings ascribed to such terms in the Purchase Agreement.

    B. The Restricted Party is a member of the board of managers of EHB, which is the sole member of
       the other Sellers, and possesses or has access to valuable Confidential Information (as defined
       below) of the Sellers and other legitimate business interests representing the goodwill of the
       Sellers.

    C. The Restricted Party has reviewed this Agreement and agrees that the restraints imposed on the
       Restricted Party herein are reasonable and are no greater than are absolutely necessary to protect
       the Sellers’s relationships with its employees.

    D. In order to assure that Purchaser receives and retains the full value of the assets and goodwill of
       the Sellers to be acquired pursuant to the Purchase Agreement, the parties hereto desire to set
       forth in this Agreement certain agreed-upon restrictions on the Restricted Party’s activities
       following the Closing.

    E. The Restricted Party’s agreement to the restrictions on the Restricted Party’s post-Closing
       activities contained in this Agreement is a material condition of Purchaser’s willingness to enter
       into the Purchase Agreement and to consummate the Transaction.

         NOW, THEREFORE, in consideration of the foregoing premises and other consideration, the
receipt and sufficiency of which is hereby acknowledged, the parties to this Agreement, intending to be
legally bound, agree as follows:

         1.      Employee/Independent Contractor Non-Solicitation; No-Hire. From the Closing until the
third (3rd) anniversary of the Closing (the “Non-Solicit Period”), whether as employee, agent, consultant,
director, equity holder, member, manager, general or limited partner or in any other capacity, and whether
directly or indirectly, the Restricted Party shall not, and the Restricted Party shall not knowingly cause or
encourage any other Person to: (a) solicit, recruit, encourage or induce, or attempt to solicit, recruit,
encourage or induce, any Person who is a Transferred Employee (collectively, the “Specified
Individuals”) to leave the service of the Purchaser; or (b) hire, employ, engage or attempt to hire, employ



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or engage any of the Specified Individuals (whether as an employee, consultant, agent, independent
contractor or otherwise), during such time as the Specified Individuals remain an employee of the
Purchaser, or for twelve (12) months thereafter, provided that the foregoing shall not limit or otherwise
restrict (x) general advertising or solicitation not specifically targeted at the Specified Individuals (it being
acknowledged Sellers have non-Seller Affiliates on whose behalf Restricted Party may be working) and
the hiring of any Specified Individuals who respond to such general advertising or solicitation or (y) the
hiring of any Specified Individuals who are terminated by the Purchaser (provided Restricted Party has
not directly or indirectly colluded with such Specified Person prior to such Specified Person’s hiring in an
effect to circumvent the restrictions of this Section 1.

        2.       Confidentiality.

                 (a)      From and after the Closing, the Restricted Party shall, and shall direct and use
commercially reasonable efforts to cause its attorneys, agents, advisors and other representatives
(“Representatives”) who receive Confidential Information from the Restricted Party or a Representative
of the Restricted Party to, treat and hold as confidential all Confidential Information, and the Restricted
Party shall not, and shall direct and use commercially reasonable efforts to cause its Representatives who
receive Confidential Information from the Restricted Party or a Representative of the Restricted Party not
to, use any Confidential Information or disclose any Confidential Information to any Person, except that
the Restricted Party and his, her or its Representatives shall be permitted to disclose Confidential
Information (i) to the extent necessary to comply with, or enforce his, her or its rights under, the terms of
the Purchase Agreement or any other binding agreement between or among the Restricted Party and
Purchaser or any of their respective Affiliates that is entered into in connection with the transactions
contemplated by the Purchase Agreement (collectively, the “Transaction Documents”), (ii) in connection
with the defense or prosecution of any action, suit or other proceeding (“Action”) (including, any Action
arising from or relating to the Transaction Documents or the transactions contemplated by the Transaction
Documents), (iii) to any Governmental Body in the course of any examination, investigation, sweep or
inquiry, and (iv) to its current or prospective partners, investors or financing sources in connection with
ordinary course fund-raising, reporting or marketing activities (provided, that the recipients of
Confidential Information pursuant to this clause (iv) are bound by customary confidentiality obligations
with respect to such Confidential Information). In addition, notwithstanding anything to the contrary
contained in this Section 2, the Restricted Party and his, her or its Representatives shall be permitted to
disclose any Confidential Information to the extent such disclosure is required by applicable law, order,
subpoena or other legal process or other request by a Governmental Body; provided, that the disclosing
Person shall, except as may be prohibited by applicable law or order, (i) provide Purchaser with
reasonably prompt written notice of such requirement (unless prohibited from doing so by applicable law)
to enable Purchaser to seek an appropriate protective order or other remedy with respect thereto, (ii)
consult and cooperate with Purchaser with respect to taking reasonable steps to resist or narrow the scope
of such request or legal process and (iii) use commercially reasonable efforts to ensure that all
Confidential Information that is so disclosed will be afforded confidential treatment.

                 (b)     As used in this Agreement, “Confidential Information” means all oral and written
non-public information, documents and materials of Sellers that constitute Purchased Assets, including
the following to the extent they constitute Purchased Assets: trade secrets, client information, company
policies, recipes, practices and codes of conduct, internal analyses, analyses of competitive products,
strategies, marketing plans, financial information, information related to negotiations with third parties,
information protected by the Sellers’s privileges (such as the attorney-client privilege), internal audit
reports, contracts and sales proposals, pricing and costs of specific menu items, products and services,
training materials, employment records, performance evaluations, and other sensitive information, in each
case, whether produced or distributed before or after the date of this Agreement; provided, however,
“Confidential Information” shall not include any information that (x) is or becomes generally available to


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the public other than as a result of Recipient's or its Representatives' breach of this Agreement or (y) is
obtained by Recipient or its Representatives on a non-confidential basis from a third party that, to
Recipient's knowledge, was not contractually restricted from disclosing such information. For the
avoidance of doubt, information of non-Seller Affiliates of a Seller does not constitute Confidential
Information.

         3.       Enforcement. If at the time of enforcement of Section 1 or Section 2 a court of competent
jurisdiction holds that the restrictions stated in either Section are unreasonable under circumstances then-
existing, including by reason of its extending over too great a period of time, too great a range of
activities, or by reason of its being too extensive in any other respect, the parties hereto agree that the
maximum period enforceable under such circumstances shall be substituted for the stated period. The
parties also agree that a court of competent jurisdiction shall be allowed to revise the restrictions
contained in those Sections as they are applied within such court’s jurisdiction to cover the maximum
period permitted by law. The parties hereto further agree that the Restricted Party’s expertise in the
business of the Sellers is of a special, unique, unusual, extraordinary, and intellectual character, which
gives the Restricted Party’s expertise a peculiar value. Consequently, the Restricted Party acknowledges
and agrees that Purchaser and its Affiliates will suffer irreparable harm from a breach of Section 1 or
Section 2 by the Restricted Party and that money damages will not be a reasonable or adequate remedy
for any such breach. Therefore, in the event of a breach or threatened breach of this Agreement,
Purchaser, its Affiliates and their successors or assigns shall be entitled to: specific performance and/or
preliminary and permanent injunctive or other equitable relief from a court of competent jurisdiction in
order to enforce, or prevent any violations of, the provisions hereof without (a) being required to post
bond or other security or (b) having to prove the inadequacy of the available remedies at law. The
Restricted Party further agrees that the rights and remedies set forth in the preceding sentence are in
addition to other rights and remedies existing in favor of the Purchaser, its Affiliates and their successors
or assigns. The Restricted Party also agrees: (x) the Non-Solicit Period shall be tolled, and shall not run,
during the period of any breach of any such covenants; (y) each of Purchaser, the Sellers and any of their
Affiliates shall have the right to enforce the Restricted Party’s obligations under this Agreement; and (z)
no claimed breach of this Agreement or the Purchase Agreement, or other violation of law attributed to
Purchaser or any of its Affiliates, or change in the nature or scope of the Restricted Party’s relationship
with the Sellers or Purchaser, shall operate to excuse the Restricted Party from the performance of his, her
or its obligations under this Agreement. The Restricted Party acknowledges and agrees that due to the
proprietary nature of the business of the Sellers, the restrictions contained in this Agreement are
reasonable (including as to duration, geographical area and scope) in light of the circumstances as they
exist on the date upon which this Agreement is executed and are necessary to ensure the preservation,
protection and continuity of such business, Confidential Information, trade secrets and goodwill of the
Sellers. The Restricted Party acknowledges and agrees that the Restricted Party has either reviewed the
provisions of this Agreement with its legal counsel or had the opportunity to do so and willingly declined
that opportunity.

        4.      Miscellaneous.

                  (a)     Notices. Any notice, request, demand, claim or other communication required or
permitted to be delivered, given or otherwise provided under this Agreement must be in writing and must
be delivered personally, delivered by nationally recognized overnight courier service or sent by e-mail
(followed by recognized overnight courier service). Any such notice, request, demand, claim or other
communication shall be deemed to have been delivered and given (a) when delivered, if delivered
personally, (b) the Business Day after it is deposited with such nationally recognized overnight courier
service, if sent for overnight delivery by a nationally recognized overnight courier service, or (c) the day
of sending, if sent by e-mail prior to 5:00 p.m. (Memphis, Tennessee time) on any Business Day or the
next succeeding Business Day if sent by e-mail after 5:00 p.m. (Memphis, Tennessee time) on any


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Business Day or on any day other than a Business Day, in each case, to the following address or to such
other address or addresses as such Party may subsequently designate to the other parties by notice given
hereunder:

                if to the Restricted Party, to:

                    [●]
                    [●]
                    [●]
                    Attention: [●]
                    E-mail: [●]

                if to Purchaser:

                    Balu Holdings, LLC
                    [●]
                    [●]
                    Attention: [●]
                    E-mail: [●]

                    with a copy (which shall not constitute notice) to:

                    Farris Bobango PLC
                    999 S. Shady Grove Road, Suite 500
                    Memphis, Tennessee 38120
                    Attn: John A. Bobango
                    Email: jab@farris-law.com

Either party may change the address to which notices, requests, demands, claims, and other
communications required or permitted hereunder are to be delivered by providing to the other party notice
in the manner herein set forth.

                (b)     Amendment and Modification. This Agreement may not be amended, modified
or supplemented in any manner, whether by course of conduct or otherwise, except by an instrument in
writing signed on behalf of each party.

                 (c)      Waiver. No failure or delay of either party in exercising any right or remedy
under this Agreement shall operate as a waiver of such right or remedy. Nor shall any single or partial
exercise of any such right or power, or any abandonment or discontinuance of steps to enforce such right
or power, or any course of conduct, preclude any other or further exercise thereof or the exercise of any
other right or power. A waiver of any right or remedy on any one occasion shall not be construed as a bar
to or waiver of any such right or remedy on any other occasion. Except as otherwise provided in this
Agreement, the rights and remedies of the parties hereunder are cumulative and are not exclusive of any
rights or remedies, which they would otherwise have under the Agreement. Any agreement on the part of
either party to any such waiver shall be valid only if set forth in a written instrument executed and
delivered by (x) a duly authorized officer on behalf of such party (in the case of an Entity) or (y)
Restricted Party (in the case of Restricted Party).

                (d)    Assignment. Neither this Agreement nor any of the rights, interests or obligations
under this Agreement may be assigned or delegated, in whole or in part, by operation of law or otherwise,
by any party without the prior written consent of the other party. Any assignment without such prior


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written consent shall be null and void. Notwithstanding the foregoing, the Purchaser may collaterally
assign its rights and benefits under this Agreement, in whole or in part, to any debt financing source or to
any Affiliate of Purchaser or any Person with whom Purchaser shall subsequently effect a merger or to
whom Purchaser shall later transfer all or substantially all of its properties or assets, in each case, without
the consent of the Restricted Party. No such assignment to a debt financing source or Affiliate of
Purchaser will relieve the Purchaser of any of its obligations under this Agreement.

                 (e)     Third Party Beneficiaries. This Agreement shall be binding upon and inure solely
to the benefit of each of the parties and their respective successors and assigns. Except as expressly set
forth in Section 3, nothing in this Agreement, express or implied, is intended to or shall confer upon any
other Person any legal or equitable right, benefit or remedy of any nature under or by reason of this
Agreement.

                  (f)     Severability. Whenever possible, each provision or portion of any provision of
this Agreement shall be interpreted in such a manner as to be effective and valid under applicable law. In
the event any provision or portion of any provision of this Agreement is held to be invalid, illegal or
unenforceable in any respect under any applicable law or rule in any jurisdiction, such invalidity,
illegality or unenforceability shall not affect any other provision or portion of any provision in such
jurisdiction. In the event of any such finding, this Agreement shall be reformed, construed and enforced in
such jurisdiction as if such invalid, illegal or unenforceable provision or portion of any provision had
never been contained herein.

                  (g)    Entire Agreement. This Agreement, the Purchase Agreement, and the other
documents and instruments referred to herein and therein, constitute the entire agreement and
understanding among the parties and supersedes all other prior agreements and undertakings, both written
and oral, among the parties, or any of them, with respect to the subject matter hereof. For the avoidance
of doubt, this Agreement does not limit or supersede any other confidentiality, non-solicitation, no-hire or
other restrictive covenant obligations set forth in any other agreement by and between the Restricted Party
and Purchaser, the Sellers or any of their respective Affiliates.

                 (h)      Effectiveness. Notwithstanding anything herein to the contrary, the restrictions
contained in this Agreement will become effective upon, and only upon, the Closing, and if the Purchase
Agreement is validly terminated prior to the Closing, this Agreement shall automatically terminate and be
of no further force or effect.

                 (i)     Counterparts. This Agreement may be executed in multiple counterparts
(including by means of facsimile or portable document format (pdf) signature pages), any one of which
need not contain the signatures of more than one party, but all such counterparts taken together shall
constitute one and the same instrument.

                 (j)      Governing Law. All matters relating to the interpretation, construction, validity
and enforcement of this Agreement shall be governed by and construed in accordance with the domestic
laws of the State of Tennessee without giving effect to any choice or conflict of law provision or rule
(whether of the State of Tennessee or any other jurisdiction) that would cause the application of laws of
any jurisdiction other than the State of Tennessee.

           (k)  Consent to Jurisdiction. THE PARTIES AGREE THAT JURISDICTION AND
VENUE IN ANY ACTION (I) ARISING UNDER THIS AGREEMENT OR (II) IN ANY WAY
CONNECTED WITH OR RELATED OR INCIDENTAL TO THE DEALINGS OF THE PARTIES
HERETO IN RESPECT OF THIS AGREEMENT OR THE TRANSACTION, IN EACH CASE
WHETHER NOW EXISTING OR HEREAFTER ARISING, AND WHETHER IN CONTRACT, TORT,


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EQUITY, OR OTHERWISE, SHALL PROPERLY AND EXCLUSIVELY LIE IN STATE OR
FEDERAL COURTS SITUATED IN THE COUNTY OF FULTON AND STATE OF GEORGIA
(INCLUDING THE APPROPRIATE APPELLATE COURTS THEREFROM). BY EXECUTION AND
DELIVERY OF THIS AGREEMENT, EACH PARTY IRREVOCABLY SUBMITS TO THE
EXCLUSIVE JURISDICTION OF SUCH COURTS FOR ITSELF AND IN RESPECT OF ITS
PROPERTY WITH RESPECT TO SUCH ACTION. THE PARTIES IRREVOCABLY AGREE THAT
VENUE WOULD BE PROPER IN SUCH COURTS, AND HEREBY WAIVE ANY OBJECTION
THAT SUCH COURTS ARE AN IMPROPER OR INCONVENIENT FORUM FOR THE
RESOLUTION OF SUCH ACTION. THE PARTIES FURTHER AGREE THAT THE MAILING BY
CERTIFIED OR REGISTERED MAIL, RETURN RECEIPT REQUESTED, OF ANY PROCESS
REQUIRED BY ANY SUCH COURTS SHALL CONSTITUTE VALID AND LAWFUL SERVICE OF
PROCESS AGAINST THEM, WITHOUT NECESSITY FOR SERVICE BY ANY OTHER MEANS
PROVIDED BY STATUTE OR RULE OF COURT. NOTWITHSTANDING THE FOREGOING, ANY
PARTY MAY COMMENCE AN ACTION WITH ANY GOVERNMENTAL BODY ANYWHERE IN
THE WORLD FOR THE SOLE PURPOSE OF SEEKING RECOGNITION AND ENFORCEMENT OF
A JUDGMENT OR ORDER OF ANY COURT REFERRED TO IN THE FIRST SENTENCE OF THIS
SECTION 4(K).

                  (l)      Time of Essence. Time is of the essence with regard to all dates and time periods
set forth or referred to in this Agreement.

                 (m)      No Presumption Against Drafting Party. The parties hereto have participated
jointly in the negotiation and drafting of this Agreement. In the event of an ambiguity or question of
intent or interpretation arises, this Agreement shall be construed as if drafted jointly by the parties hereto.
No presumption or burden of proof shall arise favoring or disfavoring any party by virtue of the
authorship of any of the provisions of this Agreement.

                 (n)     Interpretation. When a reference is made in this Agreement to a Section, such
reference shall be to a Section of this Agreement unless otherwise indicated. The headings contained in
this Agreement are for convenience of reference purposes only and shall not affect in any way the
meaning or interpretation of this Agreement. All words used in this Agreement shall be construed to be of
such gender or number as the circumstances require. The word “including” and words of similar import
when used in this Agreement shall mean “including, without limitation”, unless otherwise specified. Any
reference to any federal, state, local or foreign statute or law shall be deemed also to refer to all rules and
regulations promulgated thereunder, unless the context requires otherwise. Unless the context requires
otherwise, any definition or reference to any agreement, instrument or other document herein shall be
construed as referring to such agreement, instrument or other document as from time to time amended,
supplemented or otherwise modified (subject to any restrictions on any such amendments, supplements or
modifications set forth herein or therein).

              [The rest of this page is intentionally left blank; Signatures on following pages]




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        IN WITNESS WHEREOF, the parties hereto, or their duly authorized representatives, have
caused this Restrictive Covenant Agreement to be executed as of the date first set forth above.


                                                      PURCHASER:

                                                      BALU HOLDINGS, LLC


                                                      By:    ______________________________
                                                      Name:
                                                      Title:


                                                      THE RESTRICTED PARTY:

                                                      [●]


                                                      By:    ______________________________
                                                      Name:
                                                      Title:




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                                Schedule 1.1(d)

                              Large Party Deposits

None.




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                                             Schedule 1.1(e)

                                        Intangible Property Assets

  Serial Number      Reg. Number                         Mark
    88080875           5714201         Food Worth Sharing
    87489343           5379111         Baba Rita
    87489410           5365115         Baba Burger
    87410216           5323485         Yours.Mine.Ours.Food Worth Sharing
    85401774           4386223         Babalu
    85892790           4439446         Eat Here Brands

    •   Eatbabalu.com
    •   Babalufondren.com
    •   Babalujackson.com
    •   Babalums.com
    •   Babalutacos.com
    •   Babalutapas.com
    •   Eathere.com
    •   Eatherebrands.com
    •   All menus, recipe books and training materials of Sellers
    •   The following phone numbers:
                 Jackson - 601-366-5757
                 Overton - 901-274-0100
                 Birmingham - 205-297-0200
                 Knoxville - 865-329-1002
                 Memphis East - 901-410-8909
                 Atlanta - 404-900-9595
    •   The books and records pertaining to the Business
    •   The following proprietary information of the Sellers relating to the Business:
                 All customer lists and other customer data bases
                 All marketing materials
                 All employee manuals
    •   Unregistered Trademarks
            o “Babalu Tapas and Tacos”
            o “Babalu Tacos and Tapas”
    •   Unregistered Copyrights
            o Copyrights to the website content on the websites disclosed above




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                                           Schedule 1.1(f)

                                        Purchased Contracts

1.      Lease, dated June 29, 2016, by and between Crown Centre, LLC and Babalu-Memphis #2, LLC

2.      Standard Lease Agreement, dated October 17, 2013, by and between 29-Seven, LLC and Babalu-
        Birmingham #1, LLC

3.      Lease Agreement, dated July 30, 2010, by and between Fondren Place Development Company,
        LLC and Babalu, LLC, as amended by Lease Addendum I, dated on or about January 2012, by and
        between Fondren Place Development Company, LLC and Babalu, LLC, as further amended by
        Lease Addendum II, dated on or about November 2012, by and between Fondren Place
        Development Company, LLC and Babalu, LLC, as further amended by Lease Addendum III, dated
        on or about June 2013, by and between Fondren Place Development Company, LLC and Babalu,
        LLC, and as further amended by Fourth Amendment to Lease Agreement, dated October 30, 2015,
        by and between Fondren Place Development Company, LLC and Babalu, LLC

4.      Standard Lease Agreement, dated January 28, 2015, by and between Hatcher Hill & Associates,
        GP and Babalu Knoxville #1, LLC, as amended by that First Amendment to Lease, dated April 30,
        2015, by and between Hatcher Hill & Associates, GP and Babalu Knoxville #1, LLC, as further
        amended by that Second Amendment to Lease, dated June 12, 2015, by and between Hatcher Hill
        & Associates, GP and Babalu Knoxville #1, LLC

5.      Standard Commercial Shopping Center Lease, dated August 12, 2013, by and between Overton
        Square South, LLC and Babalu Memphis #1, LLC

6.      Retail Lease Agreement, dated July 26, 2016, by and between 33 Peachtree Holdings, LP and
        Babalu Atlanta #1, LLC




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                                  Schedule 1.1(g)

                        Business Permits and Liquor Licenses

                                   (See attached)




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     LOCATION                                  ITEM
Fondren         Annual Food Permit - BAR - MS Dept of Health
Fondren         Annual Food Permit - MS Dept of Health
Fondren         Annual Report
Fondren         Personal Property Return
Fondren         Personal Property Tax Return
Fondren         State Health Permit

Fondren         State Alcoholic Beverage Permit - Catering


Fondren         State Beer Permit
Fondren         State LBD Permit - on premise
Fondren         City Privilege License
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      LOCATION                                                     ITEM
Lakeview         City of Birmingham Business License

Lakeview         City of Birmingham Business License - Beverage and Liquor
Lakeview         City of Birmingham Business License - Gross Receipts (Food services and drinking places)
Lakeview         PPT - Business Privilege Tax
Lakeview         AL Business Privilege




Lakeview         State ABC License

Lakeview         Food Permit
Lakeview         County Business License
Lakeview         Personal Property Ad Valorem Return
Lakeview         Personal Property Tax Notice
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      LOCATION                                  ITEM



Knoxville        Business Tax Standard License - County


Knoxville        Business Tax Standard License - City
Knoxville        Business Taxes - Gross Sales
Knoxville        Personal Property Tax Notice - County
Knoxville        Personal Property Taxes - City
Knoxville        Personal Property Tax Return
Knoxville        Annual Report - 786024


Knoxville        TN Estimated Income Tax

Knoxville        TN Franchise and Excise Tax

Knoxville        TN Estimated Income Tax
Knoxville        State Health/Food Service Permit Payment - Bar and Restaurant
Knoxville        TN Estimated Income Tax
Knoxville        ABC Renewal (City)
Knoxville        LBD Price Schedule Submission
Knoxville        TN ABC License Renewal
Knoxville        TN Estimated Income Tax
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      LOCATION                                   ITEM
Overton          City of Memphis - Liquor by the Drink Privilege Tax
Overton          Business Taxes - Gross Sales
Overton          County Property Tax Notice
Overton          Personal Property Tax Return
Overton          Annual Report


Overton          TN Estimated Income Tax
Overton          TN Franchise and Excise Tax

Overton          Business Tax Standard License - City/County (Combined)
Overton          Memphis+Shelby Sign Renewal Fee




Overton          ABC Renewal
Overton          TN Estimated Income Tax

Overton          Price Schedule
Overton          State Health/Food Service Permit Payment - Restaurant
Overton          Federal Alarm - Metro Alarm Permit
Overton          City of Memphis Property Tax
Overton          TN Estimated Income Tax
Overton          LBD Price Schedule Submission
Overton          City of Memphis Beer Permit
Overton          TN Estimated Income Tax
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    LOCATION                                   ITEM
Memphis 2      City of Memphis - Liquor by the Drink Privilege Tax
Memphis 2      Business Taxes - Gross Sales
Memphis 2      County Property Tax Notice
Memphis 2      Personal Property Tax Return
Memphis 2      Annual Report - 855051
Memphis 2      TN ABC Liquor License
Memphis 2      TN Estimated Income Tax
Memphis 2      TN Franchise and Excise Tax

Memphis 2      Business Tax Standard License - City/County (Combined)
Memphis 2      TN Estimated Income Tax
Memphis 2      State Health/Food Service Permit Payment - Restaurant
Memphis 2      City of Memphis Property Tax
Memphis 2      TN Estimated Income Tax
Memphis 2      LBD Price Schedule Submission
Memphis 2      City of Memphis Beer Permit
Memphis 2      TN Estimated Income Tax
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      LOCATION                                 ITEM

Atlanta          City Business License
Atlanta          Annual Report

Atlanta          City Business License

Atlanta          City Business License
Atlanta          County Environmental Health - Restaurant
Atlanta          Dept of Watershed Managemnt


Atlanta          City Liquor License Renewal
Atlanta          State Liquor License Renewal
Atlanta          County Environmental Health - Bar
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                                              Schedule 1.1(l)

                                      Purchased Intellectual Property

The items set forth on Schedule 1.1(e) are hereby incorporated into this Schedule 1.1(l) by this reference.




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                                           Schedule 1.3(b)

                                             Cure Costs

    1. Lease, dated June 29, 2016, by and between Crown Centre, LLC and Babalu-Memphis #2, LLC -
        Cure Costs - $18,544.60.

    2. Standard Lease Agreement, dated October 17, 2013, by and between 29-Seven, LLC and Babalu-
        Birmingham #1, LLC - Cure Costs - $10,512.50.

    3. Lease Agreement, dated July 30, 2010, by and between Fondren Place Development Company,
        LLC and Babalu, LLC, as amended by Lease Addendum I, dated on or about January 2012, by and
        between Fondren Place Development Company, LLC and Babalu, LLC, as further amended by
        Lease Addendum II, dated on or about November 2012, by and between Fondren Place
        Development Company, LLC and Babalu, LLC, as further amended by Lease Addendum III, dated
        on or about June 2013, by and between Fondren Place Development Company, LLC and Babalu,
        LLC, and as further amended by Fourth Amendment to Lease Agreement, dated October 30, 2015,
        by and between Fondren Place Development Company, LLC and Babalu, LLC - Cure Costs -
        $11,411.50.

    4. Standard Lease Agreement, dated January 28, 2015, by and between Hatcher Hill & Associates,
        GP and Babalu Knoxville #1, LLC, as amended by that First Amendment to Lease, dated April 30,
        2015, by and between Hatcher Hill & Associates, GP and Babalu Knoxville #1, LLC, as further
        amended by that Second Amendment to Lease, dated June 12, 2015, by and between Hatcher Hill
        & Associates, GP and Babalu Knoxville #1, LLC - Cure Costs - $14,099.62.

    5. Standard Commercial Shopping Center Lease, dated August 12, 2013, by and between Overton
        Square South, LLC and Babalu Memphis #1, LLC - Cure Costs - $17,626.00.

    6. Retail Lease Agreement, dated July 26, 2016, by and between 33 Peachtree Holdings, LP and
        Babalu Atlanta #1, LLC - Cure Costs - $19,244.97.




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                                  Schedule 2.4

                               Excluded Liabilities

None.




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                                              Schedule 7.2

                                     Soft Drink Supply Agreements

Each Acquired Restaurant has soft beverage equipment that is owned by Coca-Cola or its Affiliates and is
comprised of:

        •    1-2 fountain dispensing units with ice bin (located in the wait stations);
        •    2-3 dispensing guns with ice bins (located in the bar); and
        •    Bag-in-the-box dispensing equipment, including racks, remote carbonators, valves/regulators,
             pumps and syrup lines and fittings.




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